Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 1 of 74   1




     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                              CASE NO. 18-cv-60788-JEM
     3

     4     SPRINT COMMUNICATIONS, INC.,
                                  INC.,

     5           Plaintiff/Counterclaim Defendant,

     6           vs.

     7                                                     Miami, Florida
                                                           April 11, 2022
     8     STEPHEN CALABRESE, as an individual,            Pages 1-74
           NEXTEL, INC.,
                   INC., d/b/a NEXTEL WORLDWIDE,           12:30 p.m. - 1:00 p.m.
     9     RETROBRANDS USA LLC,                            2:00 p.m. - 4:00 p.m.
           JEFFREY KAPLAN, as an individual, and
    10     NEXTEL WORLDWIDE MOBILE, INC.,
                                    INC.,

    11          Defendants/Counterclaimants.
           _______________________________________________________________
    12
                                 TRANSCRIPT OF JURY TRIAL
    13                                    VOLUME 1
                           BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                         UNITED STATES DISTRICT JUDGE

    15     APPEARANCES:

    16     FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20     FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
    22                             Suite 500
                                   Leawood, Kansas 66206
    23
                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
                                   5550 Glades Road
    25                             Boca Raton, Florida 33431


                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 2 of 74   2




           1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
                                    Official Federal Court Stenographer
           2                        400 N. Miami Avenue, 10S03
                                    Miami, Florida 33128
           3                        Telephone: 305-523-5598
                ______________________________________________________________
12:29:27   4                (Jury out at 12:29 p.m.)

12:29:52   5                THE COURT:   Wait until the door closes.      Have a seat.

12:29:56   6    Wait a few minutes so they can clear the floor, but we can talk

12:29:59   7    about whatever we need to talk about now so we can come back at

12:29:59   8    2:00.

12:30:09   9                All right.   Who wants to talk about what?       Evidence?

12:30:11 10     Exhibits?

12:30:18 11                 MR. RIOPELLE:   Just one second, Your Honor.       So last

12:30:25 12     night -- turn this towards you.        Last night we submitted --

12:30:28 13                 THE COURT:   Excuse me.    There's a switch on there that

12:30:32 14     raises or lowers it if you need to be higher.

12:30:34 15                 MR. RIOPELLE:   I like this better, I can see you

12:30:35 16     better.

12:30:36 17                 THE COURT:   It's fine, but sometimes you want to get

12:30:37 18     the microphone closer.

12:30:38 19                 MR. RIOPELLE:   Do you want it closer?

12:30:40 20                 THE COURT:   No, I can hear you fine.

12:30:45 21                 MR. RIOPELLE:   They've objected to six exhibits last

12:30:51 22     night.    They objected to six exhibits which I intend to either

12:30:56 23     use or reference in my opening statement and so I wanted to --

12:30:57 24                 THE COURT:   All right.    Tell me which ones.

12:31:01 25                 MR. RIOPELLE:   First one is 41A.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 3 of 74   3




12:31:23   1               THE COURT:    Okay.

12:31:26   2               MR. SCHWARTZ:    Your Honor, I've never seen this.

12:31:31   3               THE COURT:    Okay.

12:31:34   4               MR. RIOPELLE:    This is a banner that says -- you can

12:31:37   5    see, Your Honor, says Sprint together with Nextel.          They've

12:31:41   6    objected that it's not tied to Nextel.        I don't know, it says

12:31:45   7    Nextel on it.     They say that there's no underlying data to

12:31:48   8    support it.     I have to confess I don't understand that

12:31:57   9    objection.    And they say that it's not authenticated.        I can

12:32:00 10     represent to the Court that this banner and the use of this

12:32:04 11     banner will be authenticated by a witness we put on the stand.

12:32:07 12                THE COURT:    Okay.   What's the objection?

12:32:11 13                MR. SCHWARTZ:    The objection, Your Honor, is it

12:32:16 14     misleads the jury.      That's not trademark use, one.      Two, that

12:32:21 15     slogan is part of a trademark slogan for Nextel that was

12:32:27 16     abandoned in June of 2007.       So this is some old banner that was

12:32:33 17     lying around, and for that reason we don't think it should be

12:32:36 18     shown at this stage to the jury before we get into issues where

12:32:38 19     it's going to be discussed.

12:32:41 20                THE COURT:    If they don't tie it in, they got egg on

12:32:45 21     their face, it's their problem.       If they're going to show it on

12:32:48 22     the basis that they expect it's admissible and that they will

12:32:53 23     tie it is it in, I'll permit them to.        I don't think it's that

12:32:57 24     prejudicial that it's going to shock the jury into returning a

12:32:59 25     verdict for them because they saw it in opening statements and


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 4 of 74   4




12:33:03   1    if it doesn't come in, I suspect you will mention that.

12:33:07   2               MR. RIOPELLE:    I suspect so too, Your Honor.

12:33:09   3               THE COURT:    I'm not sure, but I think so.      So I'll

12:33:12   4    overrule your objection, I'll permit it.

12:33:13   5               What else you got?

12:33:15   6               MR. RIOPELLE:    The next one is Exhibit 47, Your Honor,

12:33:19   7    it's an example of an online use of the Sprint chirp mark, and I

12:33:22   8    have a copy if you would like to see 47.

12:33:25   9               THE COURT:    How can you see it?     I thought it was a

12:33:26 10     sound?

12:33:30 11                MR. RIOPELLE:    The mark itself is a sound, but this is

12:33:34 12     evidence that we are using the chirp.        And they are, of course,

12:33:37 13     arguing that we've abandoned it, and so this is evidence that

12:33:42 14     we're using it.     And their objection is that it's not trademark

12:33:48 15     usage which Your Honor dealt with in your rulings in the motion

12:33:50 16     in limine.

12:33:53 17                THE COURT:    All right.   Let me let them articulate

12:33:53 18     their objection.

12:33:57 19                MR. SCHWARTZ:    Yes, Your Honor.     First off, as the

12:34:00 20     Court pointed out, the issue about the sound mark has to do with

12:34:05 21     sound.    This is an answer and question page from Sprint,

12:34:10 22     unauthenticated, and what they've done here is on Page 2 it says

12:34:14 23     to some question, I guess if you click on it it says yes, it

12:34:19 24     says -- the question is will the Nextel push-to-talk chirp still

12:34:24 25     be used when placing a Sprint Direct Connect plus call.           And the


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 5 of 74    5




12:34:25   1    answer I guess, which is what they typed into their own system

12:34:30   2    says yes the familiar Nextel chirp will still be used.          And

12:34:34   3    again, that misleads the jury.       It's not a Nextel chirp, that's

12:34:38   4    not how it's described in the registrar, it's just a sound mark.

12:34:44   5               So for those particular reasons, it should not be shown

12:34:45   6    during opening.

12:34:47   7               THE COURT:    What is this?

12:34:54   8               MR. RIOPELLE:    It's from our website in 2018.       They

12:34:58   9    are, of course, alleging that we've abandoned use of the Nextel

12:35:03 10     chirp mark.    This is evidence that would go to show that the

12:35:08 11     fact the Nextel chirp mark was being used and Mister --

12:35:10 12                THE COURT:    How does that prove that?

12:35:13 13                MR. RIOPELLE:    Mr. Kaplan is going to testify that --

12:35:16 14     and he testified in his deposition that he did an investigation

12:35:20 15     to see if the chirp mark had been abandoned.         If he had gone out

12:35:24 16     to our website and looked at this, and it says -- and their

12:35:27 17     argument, by the way, is because we went from Nextel to then

12:35:31 18     Sprint.    This directly answers that.      Will the Nextel

12:35:35 19     push-to-talk chirp still be used when placing a Sprint Direct

12:35:39 20     Connect plus call.      If he searched this in 2018, he would have

12:35:43 21     seen yes, the familiar Nextel chirp will still be used.           It's

12:35:46 22     evidence that it's being used which is directly what they're

12:35:47 23     challenging through abandonment they're saying.

12:35:49 24                THE COURT:    Well, it's evidence that you say it's being

12:35:52 25     used, I don't know that it's evidence that it's being used.              How


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 6 of 74   6




12:35:55   1    does that show that it was used?         It just shows on your website

12:35:57   2    you say it's going to be used.

12:36:00   3               MR. RIOPELLE:    Right.     And we will also put in evidence

12:36:06   4    of it being used on devices.         But this is further evidence --

12:36:10   5    well it's two things.      It's further evidence that we were using

12:36:15   6    it, that we intended to use it because remember, abandonment is

12:36:20   7    stopped using with no intent to use.         This shows intent to use.

12:36:23   8    So it goes directly to one of the factors on abandonment.

12:36:24   9               THE COURT:    I'll permit it.     I understand your

12:36:28 10     objection, but I'll permit it.         If they don't tie it up, I think

12:36:32 11     it's more damaging than helpful, but I'll permit it.

12:36:33 12                Go ahead.    Next.

12:36:38 13                MR. RIOPELLE:    Next one, Your Honor, is Exhibit 107.

12:36:40 14                THE COURT:    That's too many exhibits.      We got to cut

12:36:41 15     that.

12:36:43 16                MR. RIOPELLE:    Excuse me?     I'm sorry?

12:36:44 17                THE COURT:    Too many exhibits.

12:36:48 18                MR. RIOPELLE:    Exhibit 107, it is a Facebook page by

12:36:56 19     Nextel Communications which is related to them, and it's put up

12:37:01 20     and it says -- it's infringement.         It says on the top of it

12:37:03 21     "Nextel is back", and it has a lot of stuff about using our

12:37:06 22     Nextel trademark on it.

12:37:08 23                THE COURT:    Why not?

12:37:10 24                MR. SCHWARTZ:    Because Nextel Communications is not any

12:37:13 25     of the Defendants, Your Honor.         It's not us, it's


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 7 of 74   7




12:37:14   1    unauthenticated and it was

12:37:17   2               THE COURT:    Whose Nextel Communications Facebook?

12:37:19   3               MR. RIOPELLE:    Your Honor, we will tie it.      We have

12:37:24   4    press releases issued by Mr. Kaplan in which it says Mr. Kaplan,

12:37:26   5    and below it it says Nextel Communications.

12:37:29   6               MR. SCHWARTZ:    One additional point, Your Honor.       Undue

12:37:34   7    delay.    This was just produced January of this year, way past

12:37:38   8    the discovery cut-off.      So even if any of the other arguments,

12:37:40   9    it's way too late.

12:37:42 10                MR. RIOPELLE:    It was produced past the discovery

12:37:46 11     cut-off because it didn't exist during discovery.          Obviously

12:37:50 12     we've been in a two and a half year hiatus and they're

12:37:57 13     continuing to infringe it, it's evidence of infringement, as

12:37:59 14     soon as we found it we produced it.

12:38:00 15                THE COURT:    I'll permit it over objection.

12:38:02 16                Next.   What else you got?

12:38:03 17                MR. RIOPELLE:    The next two, Your Honor, we can

12:38:11 18     probably deal with together.       It's Exhibits 110 and 111.

12:38:16 19                Exhibit 110 is an e-mail from Mr. Calabrese's lawyer to

12:38:21 20     the Sprint in-house lawyer saying that they were going to stop

12:38:24 21     using the Nextel mark.

12:38:30 22                Exhibit 111 is from Mr. Calabrese's lawyer to a Sprint

12:38:34 23     outside lawyer saying that they're going to stop -- saying they

12:38:39 24     have stopped using the mark and that they will -- we can close

12:38:40 25     our file on this matter.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 8 of 74   8




12:38:43   1                I will note before they note their objections, that on

12:38:48   2    the final pretrial order, which was the deadline for putting in

12:38:53   3    objections, they did not put any objections, list any objections

12:38:56   4    to it.     In addition, these two exhibits are on their exhibit

12:38:58   5    list.

12:39:00   6                THE COURT:   All right.   Explain your objection.

12:39:03   7                MR. SCHWARTZ:   Well, the reason going backwards, Your

12:39:06   8    Honor, is that it wasn't put as an objection because it was part

12:39:11   9    of our advice of counsel argument that after the submissions the

12:39:17 10     Court ruled that we weren't entitled to put on that particular

12:39:22 11     argument.     Also, these e-mails are part of a chain with Sprint's

12:39:30 12     employees that is cloaked with Rule 48 settlement

12:39:34 13     communications.     On Sprint's e-mails they actually state that,

12:39:38 14     that that's what the communications were about.         So this series,

12:39:41 15     these two e-mails are a series of settlement communications, and

12:39:45 16     if they're going to address or let -- if the Court is going to

12:39:49 17     let this in, then it should revisit the issue on advice of

12:39:51 18     counsel.     And if they're going to open the door on what

12:39:55 19     Mr. Rubin said, all the things he said, clearly they had more

12:39:57 20     than just that fuzzy letter.

12:40:00 21                 THE COURT:   This is an e-mail from the counsel to the

12:40:04 22     Plaintiff, correct?

12:40:05 23                 MR. RIOPELLE:   Yes, Your Honor.

12:40:07 24                 MR. SCHWARTZ:   Yes, Your Honor, in response to a back

12:40:12 25     and forth between their representative which we can show you the


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 9 of 74   9




12:40:22   1    exhibits for those are --

12:40:30   2               THE COURT:    How is a letter to them advice of counsel?

12:40:36   3               MR. SCHWARTZ:    Well, this was Mr. Calabrese's lawyer.

12:40:37   4               THE COURT:    Yeah.

12:40:39   5               MR. SCHWARTZ:    And it all had to do with --

12:40:42   6               THE COURT:    No, I mean, I can understand how he can --

12:40:50   7    comments to Mr. Calabrese are privileged in some way or -- but I

12:40:57   8    don't understand how -- I don't understand how this is -- how do

12:40:59   9    you tie it in?     What is it from?

12:41:00 10                MR. RIOPELLE:    I'm sorry sir.

12:41:03 11                THE COURT:    It's from Mr. Lawyer to?

12:41:05 12                MR. RIOPELLE:    The first one, Number 110 is from

12:41:10 13     Mr. Lawyer to our in-house counsel.        Number 111 is from

12:41:16 14     Mr. Lawyer to our outside counsel.        They are not -- Your Honor,

12:41:18 15     they're not advice of counsel because obviously they can't be

12:41:22 16     advice of counsel between opposing counsel.

12:41:24 17                THE COURT:    Okay.   I'm looking at them now so give me

12:41:32 18     second.

12:41:33 19                MR. SCHWARTZ:    If Your Honor would refer to Exhibit 109

12:41:37 20     which is the one that precedes from Sprint.

12:41:59 21                THE COURT:    All right.   Give me 109 please.     109 is a

12:42:05 22     multi-page exhibit.     So give me a second.

12:42:51 23                (In-place recess)

12:42:54 24                THE COURT:    What are you referring me to 109?       For what

12:42:56 25     purpose?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 10 of 74 10




12:42:57   1              MR. SCHWARTZ:    Well, to show the Court, Your Honor,

12:43:00   2    that this chain of e-mails back and forth, they've isolated out

12:43:06   3    Mr. Rubin's e-mail where you can see the very first page of this

12:43:11   4    October 20, 2017 e-mail from Ms. Jobe who is counsel right on

12:43:15   5    the top there, it's confidential for settlement purposes only.

12:43:21   6    Rule FRE 408 and the whole chain for several weeks was all

12:43:26   7    settlement communications between Sprint and Mr. Calabrese.

12:43:32   8    They've isolated out just Mr. Rubin's one e-mail or two e-mails.

12:43:36   9    I think it's unduly prejudicial to do it that way.

12:43:55 10               THE COURT:    Okay.     I can see why 109 is not admissible,

12:43:59 11     but that's not what we're talking about.        Tell me why 109 makes

12:44:02 12     110 not admissible?

12:44:04 13               MR. RIOPELLE:    Because we have just put those two on

12:44:08 14     there.   First of all, they're not advice of counsel.        Secondly,

12:44:13 15     they are not 408 communications.       Under Rule 408 --

12:44:15 16               THE COURT:    No, no.     I'm asking him to tell me why 109

12:44:20 17     makes 110 inadmissible?

12:44:21 18               MR. SCHWARTZ:    Inadmissible, Your Honor?

12:44:23 19               THE COURT:    Yeah.     You're telling me that this is not

12:44:27 20     going to come in because of 109.       I've reviewed 109, I think 109

12:44:32 21     is not admissible, but I don't know why 110 would be.

12:44:34 22               MR. SCHWARTZ:    They were all part of the same chain of

12:44:38 23     back and forth between Mr. Rubin as counsel, Sprint's counsel

12:44:42 24     back and forth.    They've just isolated it out.      Mr. Rubin simply

12:44:46 25     just didn't -- I mean, he just didn't -- the way he responded, I


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 11 of 74 11




12:44:51   1    wasn't there, but he was responding to Ms. Jobe's

12:44:53   2    communications.

12:45:22   3                THE COURT:   I presume that you're going to show that

12:45:25   4    after October or February 9, 2018 they continued.

12:45:27   5                MR. RIOPELLE:   Yes, Your Honor.

12:45:30   6                THE COURT:   I'll permit it.

12:45:34   7                MR. RIOPELLE:   And the last exhibit, Your Honor, which

12:45:42   8    you don't have a copy of, is Exhibit Number 125.         It is a --

12:45:48   9    what's called a CAT 2022, I have it in a box here.

12:45:55 10                 THE COURT:   Incidently, I have a box that Judge Lurana

12:46:01 11     Snow gave me, a sealed envelope with something, some sort of

12:46:05 12     phone that apparently was used during the preliminary injunction

12:46:10 13     hearing.     I have no idea why it is, I don't think I can use it

12:46:13 14     any longer, so I don't know what I'm supposed to do with it, but

12:46:15 15     I have --

12:46:18 16                 MR. RIOPELLE:   Was it a box that we submitted, Your

12:46:18 17     Honor?

12:46:19 18                 THE COURT:   I don't know.

12:46:20 19                 MR. RIOPELLE:   Okay.

12:46:22 20                 THE COURT:   I don't know who submitted it.     I wasn't

12:46:27 21     there.     It is some sort of phone that's in a box that's in an

12:46:30 22     envelope that is sealed.         And it's sitting on my desk and I have

12:46:34 23     no idea what it is or what I'm supposed to do with it.

12:46:36 24                 MR. RIOPELLE:   If you would like us to look at it?

12:46:38 25                 THE COURT:   Yeah.     I'll tell you what, during the


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 12 of 74 12




12:46:43   1    afternoon break I'll bring it in here.       I don't know, maybe one

12:46:45   2    of the other law clerks, if they're in there, could bring it to

12:46:49   3    me.   Bring it in and let them open it together and see what it

12:46:52   4    is and see what they want me to do with it.        I don't have a

12:46:59   5    large jar of Vaseline, but I don't think I need it.

12:47:02   6              MR. RIOPELLE:    So this is Exhibit 125.      It is a --

12:47:09   7    what's known as a CAT.     CAT is the manufacturer S22 flip phone.

12:47:13   8    It is one of the devices we are going to use to show that the

12:47:19   9    chirp is on the phone and being used.       Their objection is that

12:47:24 10     it was not produced during discovery.       It did not exist during

12:47:28 11     discovery.    As soon as this phone was released, and was starting

12:47:34 12     to be sold by Sprint and using Nextel, we produced it to them on

12:47:36 13     February 4th.

12:47:41 14               And the reason we're using this -- we had told them we

12:47:44 15     were going to use CAT phones back in 2019.        The reason we're

12:47:48 16     using this one to show that the chirp is still being used is

12:47:53 17     because we can't activate the phones back from 2019, we can only

12:47:56 18     activate the new phones.     So that's why it's being used.

12:47:59 19               THE COURT:    Is that that 4G, 5G thing, or is that

12:48:01 20     something else?

12:48:03 21               MR. RIOPELLE:    Mr. Shaughnessy may be able to tell you.

12:48:05 22               MR. SHAUGHNESSY:     That's something else.

12:48:08 23               THE COURT:    Good, because I don't understand 4G, 5G.

12:48:09 24     Your objection to that?

12:48:12 25               MR. SCHWARTZ:    Undue delay, Your Honor.      This came --


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 13 of 74 13




12:48:13   1              THE COURT:    Set it right there.     Yeah.

12:48:16   2              MR. SCHWARTZ:    The explanation doesn't sound credible

12:48:20   3    to me.   We only -- they only produced this to us a month or so

12:48:25   4    ago, and they didn't even tell us it was a physical box.          They

12:48:29   5    sent us pictures of this item.      We would have substantial harm

12:48:34   6    in the fact that we didn't have the chance to conduct any

12:48:39   7    discovery related to this particular phone model, it's not a

12:48:45   8    Nextel phone, it's a CAT phone.      You know, this is no different

12:48:49   9    than excluding two of our late witnesses, Your Honor, it's no

12:48:55 10     different.    This was long after the discovery closed.

12:48:59 11               THE COURT:    According to them it didn't exist when

12:49:00 12     discovery closed.

12:49:02 13               MR. SCHWARTZ:    Did they just produce the phone last

12:49:05 14     month?   That doesn't make any sense to me.

12:49:07 15               MR. RIOPELLE:    The phone, it did not exist during

12:49:11 16     discovery, the phone was just released.        In fact, that's why

12:49:15 17     they're calling it -- I think why they're calling it 22.          And we

12:49:19 18     -- as soon as we got it and we produced it to them, and we did

12:49:21 19     tell them it was a physical exhibit.

12:49:23 20               MR. SCHWARTZ:    Your Honor, this is no different than in

12:49:26 21     the middle of the case they decided to just print stickers with

12:49:29 22     "Nextel" written on them and slap them on boxes and then say

12:49:34 23     these are now Nextel-inspired phones.       This is no different.

12:49:39 24     The substantial harm that they could have just decided a month

12:49:43 25     ago to make a -- this isn't even a Nextel phone, this is just


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 14 of 74 14




12:49:49   1    some other phone made by Caterpillar.       I just think that the

12:49:53   2    substantial harm outweighs having them --

12:49:55   3              THE COURT:    Don't use it in your opening.

12:49:56   4              MR. RIOPELLE:    Don't?

12:49:58   5              THE COURT:    Don't use it in your opening.      We'll talk

12:50:00   6    about whether it's admissible during the case itself.

12:50:02   7              MR. RIOPELLE:    Okay.    One thing for clarification so

12:50:10   8    the Court knows though, Nextel, Sprint, Verizon, AT&T, the

12:50:12   9    carriers don't make phones.

12:50:14 10               THE COURT:    I know that, they buy them.

12:50:17 11               MR. RIOPELLE:    Like iPhone, like Moto, like CAT,

12:50:19 12     because it's a heavy duty phone.

12:50:23 13               THE COURT:    Is that supposed to be like Caterpillar?

12:50:27 14               MR. RIOPELLE:    I believe so, and a witness is going to

12:50:27 15     --

12:50:30 16               THE COURT:    Well then, let them do it.      But at this

12:50:32 17     point I'm not saying it's not admissible, I'm saying don't use

12:50:37 18     it in your opening.     Dance around it.    Okay?

12:50:43 19               That envelope that I gave you, should be opened by both

12:50:43 20     sides.

12:50:44 21               MR. RIOPELLE:    Yes.

12:50:46 22               THE COURT:    Open it now so you can see.      I don't know

12:50:46 23     what it is.

12:50:48 24               MR. RIOPELLE:    Do you want us to open it in front of

12:50:49 25     you?


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 15 of 74 15




12:50:50   1               THE COURT:   Yeah.

12:50:50   2               MR. RIOPELLE:   Okay.

12:50:52   3               MR. SCHWARTZ:   Could be anthrax.

12:50:55   4               THE COURT:   It could be, but it isn't.          If it is, it's

12:51:00   5    far enough away from me that I'm okay.

12:51:40   6               (Counsel conferring).

12:52:02   7               THE COURT:   Whose phone is it?

12:52:06   8               MR. RIOPELLE:   It was a phone submitted by Sprint.

12:52:09   9               THE COURT:   So it's Sprint's phone back again.           You can

12:52:12 10     have it back, but I wanted them to know that it was in the

12:52:16 11     Court's custody until just now.

12:52:18 12                MR. RIOPELLE:   And we're happy to take it off your

12:52:18 13     hands.

12:52:21 14                THE COURT:   All right.        I was going to give it to my

12:52:23 15     grandson so he could make believe he had a phone.              I'm just

12:52:27 16     teasing.   I'm just kidding.       No.     I'm just kidding.

12:52:30 17                MR. RIOPELLE:   I had a case, Your Honor, when I was a

12:52:35 18     law clerk 100 years ago where Atari was suing Nintendo when they

12:52:40 19     came out with the very first Game Boy back in 1989, and they

12:52:45 20     couldn't submit to the courthouse -- couldn't get it through

12:52:48 21     security of the clerk's office actually at that point, there was

12:52:50 22     no security at the courthouse.           The Game Boys.    And the judge

12:52:53 23     said do you think we should get them?           Oh, yes.    Yes, we should.

12:52:58 24     My co-clerk and I sat around playing on the Game Boy.

12:52:59 25                THE COURT:   Of course.        That's it.   So they know that


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 16 of 74 16




12:53:02   1    you got it and for whatever it's worth.

12:53:06   2              Okay.    Are we done then?

12:53:09   3              MR. RIOPELLE:    We are done.    I'll need to make some

12:53:11   4    adjustments to my --

12:53:13   5              THE COURT:    You got an hour.    Hour and ten minutes.

12:53:17   6    Have a good one.

12:53:18   7              MR. RIOPELLE:    Thank you.

12:53:26   8              THE COURT:    We'll be in recess until 2 p.m.      We don't

12:53:31   9    need to meet before then do we?

12:53:31 10               (Lunch recess)

 2:06:20 11               (Jury in at 2:06 p.m.)

 2:07:50 12               (Court called to order)

 2:07:53 13               THE COURT:    As I told you before, the statements that

 2:07:58 14     the lawyers now make, as well as the arguments they present at

 2:08:03 15     the end of the trial, are not to be considered by you either as

 2:08:06 16     evidence in the case or your instructions on the law.

 2:08:09 17     Nevertheless, these statements or arguments are intended to help

 2:08:12 18     you understand the issues in the case and the evidence as it

 2:08:15 19     comes in, as well as the positions taken by both sides.

 2:08:18 20               So I now ask that you give the lawyers your close

 2:08:21 21     attention as I recognize them for purposes of opening

 2:08:22 22     statements.

 2:08:24 23               Plaintiff, you may proceed.

 2:08:25 24               MR. RIOPELLE:    Thank you, Your Honor.

 2:08:28 25               THE COURT:    Just so you're aware, the minutes will be


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 17 of 74 17




2:08:35   1    -- there's a bar right there.         Can see when it starts, green

2:08:41   2    light will come on.      And you see the green light there in front

2:08:44   3    of the jury?

2:08:48   4                MR. RIOPELLE:   You haven't started my time yet?

2:08:51   5                THE COURT:   I get mixed up so I have to look it up each

2:08:57   6    time.     When there's two minutes to go, the green light starts

2:09:00   7    flashing.     When there's one minute to go, the yellow light comes

2:09:03   8    on.     When the red light comes on, you turn into a pumpkin.

2:09:04   9    That's it.

2:09:06 10                 All right?   You may proceed, sir.

2:09:10 11                 MR. RIOPELLE:   May we put the screens -- turn on the

2:09:12 12     juror screens?

2:09:17 13                 THE COURT:   Yes, just tell them what you need.

2:09:19 14                 MR. RIOPELLE:   Because I don't have it up here.

2:09:25 15                 THE COURT:   Okay.     You're supposed to, but I can't be

2:09:33 16     responsible for IT.      I don't know how that works.        Isn't that

2:09:42 17     supposed to be on, Dawn?         Not on yet?   Recycle it.

2:09:44 18                 MR. RIOPELLE:   I'm going to turn it off, and turning it

2:09:45 19     back on again.

2:09:50 20                 THE COURT:   I got to say, I'm so tired of the IT people

2:09:55 21     coming up here.     I like them, but I only see them when we're in

2:10:02 22     trouble.     Is it on this one here?      Is it on this one here?

2:10:04 23                 MR. RIOPELLE:   It is on this one here.

2:10:06 24                 THE COURT:   Okay.     Well, take a look at that one.     You

2:10:06 25     should be able to at least tell that it's on.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 18 of 74 18




2:10:06   1              MR. RIOPELLE:     That's going to require me to put my

2:10:06   2    glasses on.

2:10:08   3              THE COURT:    Well, I would suspect that those are

2:10:09   4    reading glasses, aren't they?

2:10:14   5              MR. RIOPELLE:     No, no.   These are bifocals.

2:10:16   6              THE COURT:    I wish I could help you, but --

2:10:18   7              MR. RIOPELLE:     That's all right.     I do as best as I

2:10:18   8    can.

2:10:20   9              THE COURT:    Or have them turn one of those around so

2:10:26 10     you have that close.      Are those on?

2:10:36 11               MR. RIOPELLE:     With your permission since I don't have

2:10:39 12     it here, if I want to read off the screen may I walk over here

2:10:42 13     and use this microphone?

2:10:45 14               THE COURT:    Yes.

2:10:51 15               MR. RIOPELLE:     All right, Your Honor.     Are you ready?

2:10:53 16               THE COURT:    You may proceed.

2:11:01 17               MR. RIOPELLE:     So why are we here.     You know for over

2:11:06 18     30 years, up to and including today, Sprint and the companies

2:11:13 19     that came before it have been using the Nextel name, brand and

2:11:16 20     trademark to sell products and services in the

2:11:22 21     telecommunications industry, and people came to associate Nextel

2:11:27 22     with those products and services, especially with the

2:11:32 23     push-to-talk service for nationwide walkie-talkie service.          As

2:11:37 24     you'll hear in the evidence, Nextel became the gold standard for

2:11:42 25     push-to-talk communications.      Then several years ago,


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 19 of 74 19




2:11:46   1    Mr. Calabrese and Mr. Kaplan decided to start selling

2:11:56   2    push-to-talk services using the same Nextel name.         They did this

2:12:01   3    to confuse consumers into thinking that the products came and

2:12:05   4    were associated with Nextel that has been selling them for over

2:12:10   5    30 years, and is still selling them today.        Mr. Kaplan and

2:12:15   6    Mr. Calabrese are trying to confuse people.        They're trying to

2:12:22   7    steal the Nextel brand.     They're infringing the trademark.

2:12:27   8    That's wrong.     And that's why we're here.     Because this is the

2:12:31   9    only way we can get them to stop.       We're here so you can tell

2:12:37 10     them that it's wrong and you can tell them to stop.         But I do

2:12:42 11     want to make one thing clear, they can sell push-to-talk phones,

2:12:49 12     they can compete in the market, they just can't call themselves

2:12:50 13     Nextel.

2:12:55 14                 Now, as the Court explained in the preliminary

2:12:59 15     instructions, this is a case about trademark infringement,

2:13:06 16     counterfeiting and unfair competent competition.         So what is a

2:13:10 17     trademark.     So a trademark is a word like Coca-Cola like the

2:13:14 18     Court used, or a symbol, you know, like the Nike swoosh, and it

2:13:18 19     can even be a color or a sound that identifies products and

2:13:22 20     services from a particular source and distinguishes those

2:13:28 21     products and services from another source.        So for example,

2:13:33 22     Coca-Cola is a particular brand of soda, and when you buy a

2:13:37 23     Coca-Cola, you know what you're getting and you know what the

2:13:40 24     quality of that product's going to be.       So how do you infringe

2:13:44 25     that?     So if another person, another person or company can


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 20 of 74 20




2:13:49   1    infringe Coca-Cola by selling a soda, putting the Coca-Cola name

2:13:55   2    on it, that misleads consumers into thinking that they're buying

2:14:02   3    a Coca-Cola when they're not.      A person can counterfeit the

2:14:07   4    Coca-Cola brand and mark by making the soda look exactly like a

2:14:13   5    Coca-Cola that you're used to buying.       And a person can unfairly

2:14:19   6    compete with Coca-Cola by leading consumers to believe that the

2:14:23   7    product, be it a soda or frankly something else, is somehow

2:14:27   8    associated with or sponsored by Coca-Cola.        So that's how you

2:14:31   9    can infringe, that's how you can unfairly compete, that's how

2:14:36 10     you counterfeit.    That's what's happening in this case.

2:14:42 11     Defendants are using Nextel and using the Nextel sound mark,

2:14:47 12     which is called the "chirp", they're using the Nextel chirp, and

2:14:51 13     those are Sprint's trademarks, to try to sell the same types of

2:14:56 14     products to the same types of consumers that Sprint sells to.

2:15:04 15               So let me introduce the trademarks.       What I have in my

2:15:10 16     hand here is the certified original copy of the Nextel trademark

2:15:14 17     registration, and I've put on the screen for you to see the

2:15:19 18     first two pages of it.     And you can see on the first page it

2:15:26 19     says the attached US Trademark Registration 1884244 is certified

2:15:34 20     to be a true copy which is in full force and effect.         You'll see

2:15:42 21     on the second page that it was first used in 1993, and the

2:15:46 22     trademark application was granted by the United States Patent

2:15:53 23     and Trademark Office in 1995.      You can also see on the cover

2:16:00 24     that this trademark was renewed in March of 2015.         To renew a

2:16:04 25     trademark, you have to -- the owner has to send in examples of


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 21 of 74 21




2:16:09   1    the actual use being made of that trademark.        And the United

2:16:12   2    States Patent and Trademark Office will review those samples and

2:16:17   3    if it finds those samples to show sufficient use, it will renew

2:16:24   4    the trademark.    Finally, you can see on here Sprint owns this

2:16:29   5    trademark.    This trademark is for the word "Nextel".       It's not

2:16:34   6    for putting Nextel in any specific manner, so you can use it in

2:16:39   7    any color, use it with any font, use it in all capital letters

2:16:44   8    or not capital letters, what this trademark protects is from

2:16:50   9    other people using the word "Nextel".       And this trademark has

2:16:55 10     been in use since 1993, and as evidenced by this document, it is

2:17:00 11     still a registered and valid trademark and has never lapsed in

2:17:03 12     any manner.

2:17:09 13               Let me introduce you to the second trademark.         This is

2:17:14 14     a certified original copy of the Nextel chirp mark registration,

2:17:19 15     and it has the same language on the front which is in full force

2:17:24 16     and effect.    But this mark is a little bit different because

2:17:29 17     this is a sound mark.     The Nextel chirp is a sound that Nextel

2:17:34 18     devices use when you're receiving or sending one of those

2:17:38 19     push-to-talk calls.     And this iconic sound is actually famous,

2:17:45 20     and people using these devices say things like "chirp me" or "I

2:17:49 21     received a chirp".     And this trademark was first used in 1997,

2:17:55 22     and Nextel filed a trademark application for it in 2005 and as

2:17:59 23     you can see on the cover, Sprint owns this trademark, and this

2:18:05 24     trademark has been used since 1997, and is evidenced by this

2:18:10 25     document it is still a registered and valid trademark and has


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 22 of 74 22




2:18:13   1    never lapsed in any manner.

2:18:16   2              Now, I'm going to go through some of the evidence that

2:18:20   3    I expect you to see, but I thought what might be helpful is to

2:18:25   4    also put this on a time line so you can see what's going on.             So

2:18:30   5    this is the first two entries in the time line, and you can see

2:18:37   6    the first entry is 1993 when the Nextel mark was first used and

2:18:45   7    the next one is 1997 when the Nextel chirp was first used.

2:18:49   8              Now, I'd like to tell you a little about Nextel and

2:18:54   9    Sprint.   So Nextel traces its origins to a company called Fleet

2:19:00 10     Call which started in 1987.      Then in 1993 they changed their

2:19:04 11     name to Nextel, and Nextel, as some of you probably know,

2:19:09 12     provided digital and wireless communication services, but it

2:19:13 13     originally focused on businesses that had multiple vehicles or

2:19:18 14     multiple people out in the field.       Businesses like trucking

2:19:27 15     companies and police officers and firefighters.         And it was this

2:19:30 16     focus that led Nextel to developing the push-to-talk service on

2:19:35 17     these devices.    Some of you may know this, but the push-to-talk

2:19:40 18     feature allows you to use your phone like a walkie-talkie.          So

2:19:43 19     instead of having to dial a number each time you want to

2:19:44 20     communicate with somebody, you can just highlight their name and

2:19:48 21     do the push-to-talk, and you can talk to them just like you're

2:19:55 22     using a walkie-talkie.     Now, not only was this service great for

2:19:58 23     consumers that had lots of vehicles out there, but it became

2:20:03 24     popular, and in fact, essential for first responders and

2:20:08 25     emergency workers.     So say there's a hurricane here in South


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 23 of 74 23




2:20:12   1    Florida, and first responders like police and firefighters have

2:20:16   2    to come in to rescue people.      Having the ability to instantly

2:20:20   3    communicate as opposed to having to keep dialing people is

2:20:20   4    essential.

2:20:25   5              And there's another benefit to this service as offered

2:20:30   6    by Nextel and Sprint.     Because Nextel and then Sprint own their

2:20:36   7    own networks like the towers and all the communication

2:20:39   8    equipment, and they can prioritize the first responders service

2:20:43   9    in an emergency making sure they are getting the service and the

2:20:49 10     quality they need.     So as another example, let's say there's an

2:20:52 11     incident at the University of Miami football game.         Well, all

2:20:56 12     90,000 fans are going to be on their phones, and they're going

2:21:00 13     to be jamming up that cell and jamming up the network.          Because

2:21:05 14     Sprint owns its own network, Sprint can make quick changes so

2:21:08 15     the communications of the first responders are prioritized over

2:21:14 16     other people's, so that the first responders can communicate and

2:21:18 17     deal with that incident.     Like I said, the push-to-talk service

2:21:23 18     became associated with Nextel and it's what Nextel became known

2:21:27 19     for.   And again, while some other providers later offered this

2:21:33 20     same service, Nextel became known as the gold standard, and

2:21:39 21     Sprint and Nextel have spent significant money and time to make

2:21:41 22     these famous marks.

2:21:45 23               In fact, what I'd like to show you now is a commercial

2:21:53 24     that Nextel ran in 2002 during the Super Bowl.

2:21:59 25               (Video playing in open court)


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 24 of 74 24




2:22:27   1                MR. RIOPELLE:      Now, some of you may remember that

2:22:30   2    commercial.     I mean, not only is that commercial funny, and I'm

2:22:34   3    going to have "baby baby" stuck in my head the rest of the day,

2:22:39   4    but it used the Nextel trademark and it used the Nextel chirp.

2:22:43   5                And just in case you missed the chirp because it goes

2:22:47   6    really quick, here it is again.

2:22:53   7                ( Chirp)

2:23:06   8                MR. RIOPELLE:      That's the Nextel chirp.   Do I have

2:23:10   9    control again?         There we go.

2:23:18 10                 So, next point on the time line, in 2005 Sprint and

2:23:24 11     Nextel decided to merge.         And one of the issues posed by the

2:23:29 12     merger is that Sprint and Nextel each had their own network.              So

2:23:34 13     Sprint had a network that uses technology called CDMA, and

2:23:38 14     Nextel had a different network, they had a network that was

2:23:43 15     actually developed by Motorola and used a technology called

2:23:50 16     iDEN.   And in around 2010, Sprint and Nextel realized it was

2:23:53 17     uneconomic to try to run two different networks, and so they

2:24:01 18     made the decision to shut down the Motorola iDEN network.           And

2:24:04 19     as you'll hear, they made the decision to shut down the Motorola

2:24:09 20     iDEN network because that network was not designed to support

2:24:13 21     data applications.         And if you'll recall back in 2007 when the

2:24:16 22     iPhone was first introduced and people started getting

2:24:20 23     smartphones, they wanted to use data applications like e-mail

2:24:25 24     and apps.     And so since iDEN didn't support all that data,

2:24:28 25     that's why they made the decision to shut that one down.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 25 of 74 25




2:24:31   1              Now, shutting down a network is not something you can

2:24:34   2    just do overnight.     I mean, there's a lot of equipment that

2:24:37   3    needs to be taken care of, but more importantly, you have to

2:24:45   4    give consumers time to change to a different network.         And at

2:24:50   5    the time Nextel decided to shut down that network, Nextel had 20

2:24:56   6    million consumers.     So Nextel and Sprint planned the shutdown of

2:25:03   7    that network for three years and finally, on June 30, 2013, they

2:25:05   8    shut down the Motorola iDEN network.

2:25:10   9              But here's a critical point for this case.        As the

2:25:15 10     evidence will show, at the time of the iDEN network shutdown in

2:25:24 11     2013, Sprint and Nextel had no intention of stopping to use the

2:25:28 12     Nextel brand and mark.     And you're going to hear from several

2:25:33 13     witnesses who are going to talk about how Sprint used the Nextel

2:25:37 14     brand after the shutdown of the iDEN network and, in fact, is

2:25:41 15     still using it today.     One of those witnesses is a gentleman

2:25:46 16     named Brent Kohman.     Mr. Kohman used to work for Sprint and

2:25:49 17     Nextel, but now he works for Motorola so he's not a Sprint

2:25:52 18     employee, but he's going to come and he's going to tell you

2:25:55 19     about the Nextel brand.     He's going to tell you how Sprint

2:25:59 20     planned to use it after 2013 and how he has seen it been used

2:26:01 21     since 2013.

2:26:07 22               Now, I showed you the Super Bowl ad, but one thing did

2:26:10 23     change about the Nextel brand after the shutdown of the iDEN

2:26:14 24     network in 2013.     See, before the shutdown and especially before

2:26:20 25     the merger with Sprint in 2005, Nextel was competing with Sprint


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 26 of 74 26




2:26:27   1    and Verizon and AT&T to get consumers, competing for consumers

2:26:34   2    like you and me.    But after the merger, it became evident that

2:26:39   3    Nextel and its push-to-talk to services was most appropriate for

2:26:43   4    certain types of businesses and first responders.         So Sprint and

2:26:46   5    Nextel made the logical decision that it didn't make sense to

2:26:51   6    run big advertisements like the Super Bowl ad because that was

2:26:55   7    not the market Nextel was strongest in.        So instead, Nextel and

2:26:59   8    Sprint started concentrating on the focus business market and

2:27:03   9    first responders.     And since 2013, Sprint salespeople and

2:27:08 10     Sprint's professional people have continued to use the Nextel

2:27:13 11     and the chirp to benefit from the fame of those trademarks.

2:27:16 12     They use the trademarks at trade shows, they use it on

2:27:22 13     packaging, and Sprint and now T-Mobile, have plans to use those

2:27:22 14     marks in the future.

2:27:27 15                Let me take one step aside for a second because I just

2:27:31 16     mentioned T-Mobile.     You may have heard that T-Mobile and Sprint

2:27:36 17     recently merged, but just so there's no confusion Sprint, as a

2:27:40 18     company, still exists and Sprint still owns these trademarks.

2:27:47 19                Now, I talked about trade shows.      So you can see at the

2:27:55 20     bottom there I just put on it says 2017 to 2019 IWCE trade

2:28:03 21     shows.    IWCE stands for International Wireless Communications

2:28:10 22     Expo.    And it's a trade show that focuses on law enforcement and

2:28:16 23     other industries where they really use this push-to-talk.          In

2:28:23 24     fact, here's a picture of Sprint's booth at the 2018 IWCE trade

2:28:27 25     show.    You look in the back, you see in the back of that picture


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 27 of 74 27




2:28:32   1    there's a black banner hanging down but it's kind of hard to

2:28:39   2    read?   We have it here.    We brought it.     It's too big for me to

2:28:45   3    hold up too much, but here's the banner.        You can see it says

2:28:50   4    Sprint together with Nextel.      That's what Sprint and Nextel were

2:28:55   5    doing at the 2018 IWCE trade show.

2:29:01   6              You're also going to see during this case that Nextel

2:29:04   7    appears on a lot of devices and on the packaging for those

2:29:08   8    devices, and certain witnesses will come and they will show you

2:29:14   9    that.   You're also going to hear evidence and see evidence of

2:29:19 10     Sprint's sales using the Nextel trademark.        You'll see that

2:29:27 11     every year since 2013, Sprint has made sales of push-to-talk

2:29:31 12     devices that were sold using the Nextel trademark and using the

2:29:35 13     Nextel chirp, and that's represented by that yellow line going

2:29:38 14     across the top there of the time line.

2:29:44 15               Now, I'm going to turn -- so you know where I'm going,

2:29:46 16     I'm going to turn to the activities of the Defendants.          It

2:29:51 17     starts with a gentleman named Mr. Calabrese.        Mr. Calabrese, who

2:29:55 18     is not in the courtroom today, he is the founder and president

2:30:00 19     of a company he is calling Nextel, Inc. which is doing business

2:30:07 20     as Nextel Worldwide.     And in 2016, Mr. Calabrese decides that he

2:30:12 21     wants to sell push-to-talk devices, and he decides he's going to

2:30:20 22     use the brand name Nextel to do so.       So in 2016, he registers

2:30:30 23     Nextel as a corporation and then on October 21, 2016,

2:30:38 24     Mr. Calabrese files an application for the Nextel trademark.

2:30:41 25     And you will see that the United States Patent and Trademark


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 28 of 74 28




2:30:44   1    Office, and you probably know this is the federal agency just

2:30:48   2    outside of Washington, DC that's responsible for handling

2:30:54   3    trademarks in this country, rejected Mr. Calabrese's

2:31:00   4    application.     Why did they reject it?    Because the United States

2:31:08   5    Patent and Trademark Office recognized that Sprint owned the

2:31:12   6    trademarks.     See what it says here, applicant's mark Nextel is

2:31:18   7    confusingly similar to registrant's marks Nextel.         Registrant is

2:31:20   8    Sprint.

2:31:22   9               THE COURT:   Excuse me, counsel.     I'm sorry to interrupt

2:31:25 10     you, but do you think you can talk from here for a few minutes

2:31:29 11     while my IT guy goes under and tries to figure out what you did

2:31:32 12     to break my machine?

2:31:33 13                MR. RIOPELLE:    I can try.

2:31:36 14                THE COURT:   I always like to blame somebody else, it's

2:31:39 15     much better that way.      There's a microphone here and the thing

2:31:44 16     is fine.     So if you can do that, go see -- see what you can do.

2:31:45 17                MR. RIOPELLE:    I will see what I can do.

2:31:48 18                THE COURT:   If you need to go back there, feel free,

2:31:52 19     he'll move away.     He's here now, so I thought I might take

2:31:53 20     advantage.

2:31:57 21                MR. RIOPELLE:    Thank you.   So they reject -- he tried

2:32:00 22     to get the Nextel trademark and the United States Patent and

2:32:05 23     Trademark Office rejected it.      And the United States -- you can

2:32:11 24     see here that they saw that it was register's marks, Sprint, and

2:32:14 25     they said it's confusingly similar.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 29 of 74 29




2:32:16   1               But despite the trademark office rejecting

2:32:21   2    Mr. Calabrese's application, the evidence will show that he

2:32:26   3    still started to sell products using the Nextel mark anyway in

2:32:36   4    2017.    And in fact, in March of 2017, Mr. Calabrese goes to the

2:32:41   5    IWCE trade show, the same trade show that Sprint's going to.

2:32:46   6    And here's a picture of Mr. Calabrese's booth at the IWCE trade

2:32:51   7    show.    You can see what he's done is he's gotten a banner,

2:32:54   8    Nextel, and he's just flipped it over the top of there so they

2:32:55   9    can have the booth there.

2:32:58 10                THE COURT:   You can mark that screen if you wish to.

2:33:00 11     Circle something with your finger.

2:33:02 12                MR. RIOPELLE:   That would be way too dangerous, Your

2:33:02 13     Honor.

2:33:05 14                THE COURT:   It would not hurt your finger, I promise.

2:33:08 15     And I can erase it, so don't worry.

2:33:11 16                MR. RIOPELLE:   It was at this trade show when they saw

2:33:15 17     the booth, this is where Sprint became aware of them in March of

2:33:21 18     2017.    In fact, this photo was taken by one of the witnesses

2:33:24 19     you're going to hear from.      And you're going to hear from

2:33:27 20     several witnesses that are going to talk about the IWCE trade

2:33:31 21     show.    One is named Scott Wiley and the other one is Mr. Tom

2:33:34 22     Shaughnessy, who is sitting over there at the table right now.

2:33:39 23     And they're going to tell you that they were surprised, in fact

2:33:44 24     confused that somebody had a booth that was claiming themselves

2:33:49 25     to be Nextel that wasn't associated with Sprint.


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 30 of 74 30




2:33:53   1               THE COURT:     You can go back, it's fixed.

2:33:56   2               MR. RIOPELLE:        Did I break it?

2:33:58   3               THE COURT:     No.     Probably somebody moving the lectern

2:33:59   4    did.

2:34:01   5               MR. RIOPELLE:        I probably did break it.

2:34:03   6               THE COURT:     Yeah, that's the lectern, not a podium.

2:34:08   7    I've read in the New York Times you stand on a podium, you stand

2:34:10   8    behind a lectern.       Since it was in the New York Times, it

2:34:14   9    obviously was true.

2:34:21 10                MR. RIOPELLE:        So this trade show where he first shows

2:34:27 11     up using Nextel was in March of 2017.             So Sprint learns about

2:34:32 12     it.    So in April of 2017, Sprint sends Mr. Calabrese a letter

2:34:39 13     and they inform him that the Nextel brand and the Nextel

2:34:42 14     trademark are Sprint's property, and they ask him to stop using

2:34:47 15     it.    You can see they say the misrepresentation and unauthorized

2:34:52 16     use of our trademarks are likely to confuse the public and

2:34:56 17     injure valuable rights to the trademarks because it implies that

2:35:00 18     a business relationship exists between Sprint or Nextel and your

2:35:04 19     company.    Nextel here demands that you, your company and all

2:35:09 20     agents cease this activity immediately.             And you see the

2:35:13 21     registration number there that I've highlighted at the bottom?

2:35:20 22     That is this trademark right here, 1884244, and we told him that

2:35:23 23     he was infringing that trademark.

2:35:30 24                Now, Mr. Calabrese responds by hiring a lawyer.            And

2:35:33 25     Sprint receives an e-mail from the lawyer claiming that Sprint


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 31 of 74 31




2:35:39   1    no longer uses the Nextel trademark.       In October of 2017, Sprint

2:35:42   2    responds and says yes, in fact we are using the trademark and

2:35:49   3    here are examples of us using it.       So then in response, in

2:35:54   4    October of 2017, Mr. Calabrese's lawyer sends us an e-mail

2:35:58   5    sending saying that they're going to stop using it.

2:36:03   6    Mr. Calabrese has also advised me that pursuant to your recent

2:36:07   7    demand, he has ceased using the mark on any products or services

2:36:10   8    over which he has any sort of controlling interest and has

2:36:15   9    ceased all offers for sale of telecommunication services and

2:36:20 10     equipment using the Nextel mark.       In fact, several months later

2:36:25 11     in February of 2018, Mr. Calabrese's lawyer follows up and he

2:36:29 12     says my client has stopped using the mark.        This should allow

2:36:37 13     you to close your file on this matter.       But unfortunately as the

2:36:39 14     evidence is going to show, and the fact that we're here today,

2:36:46 15     Sprint could not close this file, because unbeknownst to Sprint,

2:36:50 16     Mr. Calabrese had contacted Mr. Kaplan.

2:36:55 17               Now, Mr. Kaplan is the owner of a company that he

2:36:59 18     started called RetroBrands.      It's not a big company, in fact

2:37:02 19     he's the only one that works there, and he says that company,

2:37:06 20     what they do is they bring back old brands.        So Mr. Kaplan talks

2:37:10 21     to Mr. Calabrese.     He knows that Sprint has asked Mr. Calabrese

2:37:15 22     to stop using the Nextel trademark.       But despite knowing this,

2:37:20 23     Mr. Kaplan decides he'll team up with Mr. Calabrese and start

2:37:32 24     using Nextel.    And in fact, in January of 2018, they enter into

2:37:37 25     a license agreement and this agreement shows you what their plan


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 32 of 74 32




2:37:40   1    is.     This is part of an agreement between Mr. Calabrese and Mr.

2:37:45   2    Kaplan.     It says here licensee, that's Mr. Calabrese, hereby

2:37:50   3    agrees to cooperate with the owner in regards to any future

2:37:56   4    possible mergers and/or partnerships with potential angel

2:38:02   5    investors and strategic partners who can assist us in achieving

2:38:05   6    our goal which is to sell the company for tens of millions of

2:38:08   7    dollars or possibly hundreds of millions of dollars within the

2:38:12   8    next five years.     They're basing that on using, as they say, the

2:38:16   9    famous and iconic trademark Nextel.

2:38:25 10                 And so at the very same time late January 2018, early

2:38:33 11     February 2018, Mr. Calabrese's lawyer is sending Sprint e-mails

2:38:37 12     saying we've stopped using this, you can close your files, Mr.

2:38:42 13     Kaplan and Mr. Calabrese are actually working together to

2:38:49 14     continue using the Nextel mark.      In fact, just two days, two

2:38:54 15     days before Mr. Calabrese's lawyer tells us that we can close

2:39:00 16     our file, Mr. Kaplan issues a press release saying that the

2:39:04 17     iconic Nextel Communications brand has been relaunched across

2:39:05 18     America.

2:39:10 19                 Now, Mr. Kaplan claims that he does research to make

2:39:15 20     sure that he can use a brand.      The evidence is going to show

2:39:19 21     that he didn't do his research very well or he didn't do it very

2:39:24 22     hard.     So for example, Mr. Kaplan says he looked at Sprint

2:39:30 23     websites.     Well, here's a Sprint website from November of 2018,

2:39:35 24     the same year that he was doing the research.        And if he looked

2:39:38 25     at it there's a question and answer, you know, those frequently


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 33 of 74 33




2:39:42   1    asked questions kind of things you see, and it says will the

2:39:46   2    Nextel push-to-talk chirp still be used when placing a Sprint

2:39:53   3    Direct Connect Plus call?      Yes, the familiar Nextel chirp will

2:39:55   4    still be used.

2:39:57   5              He also went and looked at the United States Patent and

2:39:59   6    Trademark Office database which you can get off their website

2:40:04   7    and he searched for Nextel trademarks.       And this would be an

2:40:07   8    obvious place to go.     If you're going to go and sell something

2:40:09   9    using a brand, you want to make sure that nobody else is using

2:40:14 10     that brand so you're not infringing their trademark.         Well, if

2:40:18 11     Mr. Kaplan had paid attention to it, he would have seen that

2:40:26 12     these two trademarks are listed on that database as alive and

2:40:32 13     valid and still functioning.      And we know that he talked to

2:40:38 14     Mr. -- Mr. Kaplan talked to Mr. Calabrese.        Mr. Calabrese has

2:40:42 15     seen Sprint using the Nextel trademark at the IWCE trade show,

2:40:47 16     so they knew it was still being used.

2:40:54 17               But despite all this, Mr. Kaplan tried to do the same

2:40:58 18     thing that Mr. Calabrese did, he filed a trademark application

2:41:02 19     with the United States Patent and Trademark Office to try to get

2:41:11 20     the Nextel trademark.     He did this on January 29, 2018, about a

2:41:15 21     week before Mr. Calabrese's lawyer told us we could close our

2:41:23 22     file.   Not surprisingly, the trademark office rejected Mr.

2:41:28 23     Kaplan's Nextel application.      They said in the present case,

2:41:33 24     applicant's mark is Nextel and registrant's mark is Nextel.           The

2:41:36 25     registrant there is Sprint.      These marks are identical in


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 34 of 74 34




2:41:40   1    appearance, sound and meaning and have the potential to be used

2:41:50   2    in exactly the same manner.      Now, so they rejected his

2:41:52   3    application for Nextel.

2:41:57   4              Undeterred, Mr. Kaplan also filed an application for

2:42:05   5    the chirp sound in July of 2018.       And again, not surprising, the

2:42:08   6    United States Patent and Trademark Office rejected his

2:42:15   7    application for the chirp sound.       It says the registration of

2:42:18   8    the applied-for mark is refused because of a likelihood of

2:42:28   9    confusion with the mark in US Registration 5047282.         This is 50

2:42:37 10     -- this, sorry, is 5047282.      And it says -- goes on, and it says

2:42:41 11     the Trademark Act Section 2(d) bars registration of an

2:42:46 12     applied-for mark that is so similar to the registered mark that

2:42:52 13     it is likely consumers would be confused, mistaken or deceived

2:42:57 14     as to the commercial source of the service of the parties. In

2:43:03 15     addition, the evidence is going to show that when Mr. Kaplan

2:43:10 16     filed the registration for the chirp, all he did was copy the

2:43:17 17     Sprint registration and put that in there.        And the evidence

2:43:18 18     will show that.

2:43:22 19               Now, despite these rejections from the United States

2:43:26 20     Trademark Office, Mr. Kaplan and Mr. Calabrese proceeded to

2:43:29 21     infringe the Nextel trademark.      Let me just show you quickly a

2:43:34 22     couple of examples of the infringement you're going to see.

2:43:39 23     This is Defendant Nextel, Inc.'s website.        This is

2:43:43 24     Mr. Calabrese's website.     You can see that it's using Nextel

2:43:47 25     right across the top.     The other interesting thing about this is


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 35 of 74 35




2:43:51   1    it's using Nextel with the R in the circle.        Do you see that?

2:43:55   2    The R in the circle means that you have a registered trademark.

2:43:59   3    Mr. Calabrese didn't have a registered trademark.         In fact, the

2:44:02   4    application that he had filed had been rejected by the United

2:44:05   5    States Patent and Trademark Office.

2:44:11   6              Here's a letter in January of 2017 before we even knew

2:44:15   7    about them, letter from Calabrese to one of the dealers he was

2:44:19   8    trying to sign up.     It says you may be familiar with our brand

2:44:24   9    name, and we believe it is key in consumer residual goodwill, as

2:44:29 10     well as telegraphing to dealer and end users our business in one

2:44:34 11     single word.    The residual goodwill that he's talking about

2:44:39 12     there is not goodwill that he could have built up, he hadn't

2:44:44 13     started selling products until March 2017.        It's the goodwill

2:44:47 14     built up my by clients, Nextel and Sprint over the 30 years that

2:44:50 15     they are using Nextel.

2:44:54 16               Here's another example.      This is Defendant Nextel

2:44:58 17     Mobile Worldwide's website.      This is Mr. Kaplan's website and

2:45:04 18     again, you can see it's using Nextel up there in the very top.

2:45:11 19     Also, if you go into it, inside this here's a picture of a

2:45:14 20     Nextel building that Mr. Kaplan put on there.        The evidence is

2:45:20 21     going to show that that building is not associated with any of

2:45:24 22     the Defendants.    It's not RetroBrand's building, it's not Nextel

2:45:30 23     Mobile Worldwide's building, it's not Nextel, Inc.'s building,

2:45:33 24     that is a picture that Mr. Kaplan found on the internet and just

2:45:37 25     put on his website to make people think that was his building.


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 36 of 74 36




2:45:42   1                You'll also see in his same website that they're

2:45:47   2    advertising or promoting that they're using the chirp.          You'll

2:45:52   3    also see in their website that they're putting on their website

2:45:56   4    the ads that we made.     And in fact, in the upper left-hand

2:46:00   5    corner, that's the ad I just showed you a couple of minutes ago.

2:46:05   6    But they're putting them in their website to promote their

2:46:06   7    products.

2:46:13   8                This is Nextel Communications' Facebook page.       Nextel

2:46:16   9    Communications is a company tied to Mr. Kaplan.         And you can

2:46:21 10     again see it says "Nextel is back", and you can see they're

2:46:29 11     offering devices that say Nextel on them.        Here's a side-by-side

2:46:32 12     comparison.    On the right side -- sorry.      On the left side is

2:46:39 13     some of Sprint's marketing materials for Nextel, "it all started

2:46:42 14     with a chirp", and you can see it says "Nextel from Sprint".             On

2:46:45 15     the right side is Defendants' marketing materials.         You can see

2:46:50 16     they're using Nextel, they're using the same color, same --

2:46:53 17     almost the same font, the same black line coming down there, and

2:46:56 18     they're holding up devices that talk about -- and they have

2:46:58 19     Nextel on them.

2:47:05 20                 You'll also see that there are domain names that are

2:47:09 21     all used by Defendants, and we highlighted the Nextel in there.

2:47:13 22     This is what's known as cybersquatting.        When you use somebody

2:47:18 23     else's trademark in your domain name, that's known as

2:47:19 24     cybersquatting.

2:47:26 25                 And finally, you'll see that the Defendants made sales


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 37 of 74 37




2:47:31   1    and infringed the trademark from 2017 to the present.

2:47:37   2              Now, what is Defense's response going to be to the

2:47:40   3    clear evidence that they are using Sprint's Nextel and chirp

2:47:43   4    marks, and they're trying to benefit from the goodwill and

2:47:47   5    reputation that Sprint built up in the Nextel trademarks?

2:47:53   6    Defendants' primary argument is going to be that Sprint somehow

2:47:59   7    abandoned Nextel and the chirp marks.       Now, as the Court is

2:48:03   8    going to instruct you at the end of the case, to prove

2:48:06   9    abandonment, the Defendants have to prove that Sprint stopped

2:48:12 10     using the Nextel trademark and had no intention of resuming use

2:48:20 11     of the Nextel trademark.     As I've already shown you, Sprint has

2:48:24 12     not abandoned the Nextel trademark and the Nextel chirp.          In

2:48:27 13     fact, the evidence is going to show that the reality is in fact

2:48:31 14     the exact opposite.     Sprint has continued to use the Nextel

2:48:34 15     trademark and the chirp up until today, and you'll hear evidence

2:48:39 16     that Sprint and T-Mobile have plans to continue to use the

2:48:41 17     Nextel trademark.

2:48:46 18               Now something you need to watch for.       Defendants may

2:48:50 19     raise other Nextel marks that have been abandoned or cancelled,

2:48:56 20     but you need to pay close attention if they do this.         Because as

2:49:01 21     I told you earlier, Nextel evolved from being a company that was

2:49:05 22     branding towards consumers to being a brand that was going

2:49:10 23     toward businesses and first responders.        And so as the focus

2:49:14 24     changed, they got rid of some of the trademarks and stuff they

2:49:17 25     didn't need to use.     But more importantly, if they show you


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 38 of 74 38




2:49:22   1    other trademarks, that's irrelevant and it's a red herring.

2:49:27   2    They are not these two marks that are at issue in this case.

2:49:31   3    This case is about whether Defendants are infringing these two

2:49:34   4    marks.

2:49:37   5                Here's another thing you may hear.     In an effort to

2:49:41   6    avoid the obvious fact that Sprint has registered trademarks

2:49:45   7    that it is asserting in this case, Defendants will also argue

2:49:48   8    that Sprint somehow committed fraud on the Patent and Trademark

2:49:54   9    Office.     They have a heavy burden to try to prove this.       But the

2:49:58 10     answer is an obvious one.      The experts at the trademark office

2:50:03 11     reviewed and accepted Sprint's evidence, and you'll see that

2:50:09 12     evidence that Sprint was still using Nextel.

2:50:13 13                 Finally, Defendants are going to claim to you that

2:50:18 14     they've been harmed; that in fact Sprint owes them money because

2:50:22 15     Sprint is trying to enforce its trademarks.        But trademarks are

2:50:26 16     property.     I mean, they're just like any physical property you

2:50:30 17     own.     So for example, say you owned a house that's real close to

2:50:33 18     a restaurant, and that people go into that restaurant keep

2:50:37 19     driving across your front lawn to get to that restaurant.          Well,

2:50:41 20     that's your property.     So you put up a sign that says no driving

2:50:46 21     on this property, violators will be prosecuted.         The restaurant

2:50:49 22     can't come and sue you because it's lost consumers because you

2:50:53 23     won't let them drive across your property.        Well, that's the

2:50:57 24     same thing that's going on here.       Defendants can't claim they've

2:51:02 25     lost business because Sprint is trying to protect its property.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 39 of 74 39




2:51:05   1               One last topic I want to talk to you before I sit down.

2:51:11   2    Damages.   Sprint will be seeking damages in this case.         Again, I

2:51:13   3    want to reiterate --

2:51:15   4               THE COURT:   I'm going to give you an extra five minutes

2:51:18   5    because we interrupted you during your opening.

2:51:20   6               MR. RIOPELLE:   I should be done in three.

2:51:23   7               THE COURT:   Well, you got 4:30 left, so you have an

2:51:26   8    extra five if you need it.

2:51:30   9               MR. RIOPELLE:   One point I want to reiterate.

2:51:34 10     Defendants can sell push-to-talk phones.        They can compete.

2:51:40 11     They just can't call themselves Nextel.        So in this case, Sprint

2:51:46 12     is seeking something that the law calls statutory damages.

2:51:50 13     Statutory damages are essentially a fine set forth in the

2:51:54 14     federal trademark law.     Congress has decided that counterfeiting

2:51:59 15     and trademark infringement are serious violations that carry a

2:52:03 16     fine.   And why are there fines?     Well, because counterfeiting

2:52:06 17     and trademark infringement not only harm the company whose

2:52:11 18     property is being stolen, but it can harm consumers who pay for

2:52:16 19     one thing but get something else.       And here, Sprint has no

2:52:20 20     ability to control the quality of the products being sold by the

2:52:24 21     Defendants.    And in this case, those consumers who may get

2:52:30 22     something else are first responders and others who rely on

2:52:35 23     reliable communications.     Sprint has no way to verify that these

2:52:38 24     first responders are actually getting the reliable

2:52:43 25     communications and services that have come to be associated and


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 40 of 74 40




2:52:49   1    known by the Nextel brand.      So that's why Sprint is seeking

2:52:55   2    statutory damages.     It's to deter Defendants from passing off

2:53:01   3    their products as Sprint's Nextel products and to protect the

2:53:06   4    consumers from being confused and buying counterfeit products.

2:53:09   5              So after you've heard all the evidence, we're going to

2:53:15   6    ask you that find that Defendants have infringed, have

2:53:20   7    counterfeited, unfairly competed by using the Nextel trademark

2:53:23   8    and the Nextel chirp, and we'll also ask you to find that

2:53:27   9    Defendants are liable for cybersquatting because they're using

2:53:31 10     the Nextel trademark in their domain names.        And by finding

2:53:36 11     Defendants liable, you'll be able to tell them what they're

2:53:40 12     doing is wrong, and you'll be able to tell them that they should

2:53:43 13     stop using Sprint's property.

2:53:47 14               So on behalf of Sprint, I want to thank you for your

2:53:52 15     time and your service in this important case.

2:54:05 16               THE COURT:    Thank you, sir.

2:54:07 17               MR. RIOPELLE:    Thank you, Your Honor.

2:54:10 18               THE COURT:    You may proceed, sir.

2:54:39 19               MR. SCHWARTZ:    Good afternoon, everyone.      Ladies and

2:54:44 20     gentlemen, my name is Wayne Schwartz and with me is Jim Kernell

2:54:47 21     and my associate Dorey Solomon, and we represent the Defendants.

2:54:52 22     You heard a little bit in the jury selection about the

2:54:54 23     Defendants and I'm going to just describe a little bit about

2:54:55 24     them.

2:55:05 25               Mr. Kaplan, to my right, he owns RetroBrands USA LLC


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 41 of 74 41




2:55:12   1    and he started that business in 2012.       He also has a company

2:55:17   2    called Nextel Mobile Worldwide, Incorporated, and he formed that

2:55:23   3    in April of 2018, and he did that by changing his prior company

2:55:29   4    called Global Beverage to Nextel Mobile Worldwide.         And you'll

2:55:33   5    hear Mr. Kaplan talk about his background and his other

2:55:37   6    businesses, including the beverage company and some others.

2:55:44   7              He's lived here in South Florida for 45 years.         He had

2:55:48   8    some schooling in Broward Community College, didn't finish.

2:55:53   9    He's basically an entrepreneur.      He's worn a lot of hats.      He's

2:55:56 10     ran video stores, he's ran -- he had his beverage company, he's

2:55:59 11     done a lot of different things.      And you're going to hear from

2:56:05 12     Mr. Kaplan about how he got into reviving nostalgic brands.

2:56:08 13               This is not foreign, or it shouldn't be foreign to

2:56:13 14     anyone if you're a baby boomer or older, and you grew up on

2:56:18 15     certain brands and then they disappear, and then you wonder

2:56:22 16     where did these brands go.      Then sometimes they do come back and

2:56:25 17     you think well, maybe it's the original company but no, it's not

2:56:30 18     always the original company, because trademarks and brands, they

2:56:33 19     either get abandoned or they're cancelled or people just give up

2:56:37 20     on them, and there's plenty of examples out there.

2:56:44 21               We also represent Nextel, Inc., and Jose Rivera is a

2:56:49 22     50-50 owner with Mr. Calabrese.      You only heard Mr. Riopelle

2:56:53 23     discuss Mr. Calabrese.     But since 2016 when Mr. Rivera and

2:56:58 24     Mr. Calabrese decided, after investigating the issues, they were

2:57:02 25     going to form their company Nextel, Inc.        And unfortunately,


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 42 of 74 42




2:57:07   1    Mr. Calabrese cannot be here today at the trial.         However,

2:57:11   2    there's issues when a party or a witness can't be at a trial and

2:57:15   3    if they have been deposed in a case, there's transcripts.           The

2:57:18   4    lawyers have taken their depositions in advance, and you're

2:57:22   5    going to probably hear parts of those transcripts being read and

2:57:26   6    you can consider that as part of the evidence in the case.

2:57:33   7                Mr. Rivera also has been and lived in South Florida for

2:57:39   8    30 years.    He also grew up here and has done a variety of jobs,

2:57:45   9    and then decided to focus his attention in 2016 on this new

2:57:48 10     venture, Nextel, Inc.

2:57:54 11                 Over to my left over here is the Plaintiff, their name

2:58:01 12     now is Sprint Communications LLC.       When the lawsuit was filed in

2:58:06 13     April of 2018, they were Sprint Communications, Incorporated.

2:58:11 14     And so they've recently decided only a few months ago that they

2:58:15 15     were going to change to an LLC which is a limited liability

2:58:20 16     company.    It's out of Kansas.    It has no shareholders.      A

2:58:25 17     limited liability company has members, its only member is Sprint

2:58:35 18     LLC and it's 100% owned by that entity.        Sprint LLC was an

2:58:40 19     entity that was once called Sprint Corporation.         They have since

2:58:41 20     changed their name.

2:58:47 21                 You heard about T-Mobile.    T-Mobile USA, Incorporated

2:58:52 22     is -- let me strike that.      Sprint -- let me step back.

2:58:56 23                 Sprint LLC is a subsidiary of T-Mobile USA,

2:59:06 24     Incorporated.    And then T-Mobile USA, Inc. is a subsidiary of

2:59:15 25     T-Mobile US, Incorporated.      There is no Nextel Communications,


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 43 of 74 43




2:59:19   1    there is no Nextel company, that's why there's two sides to

2:59:20   2    every story.

2:59:23   3               You heard Mr. Riopelle.     He showed you this time line,

2:59:32   4    except he leaped from the Super Bowl ad in 2004 all the way to

2:59:36   5    2016 and 2017, and he just skipped over the whole middle.          The

2:59:40   6    whole middle of the story.      The middle of the story is that

2:59:44   7    Sprint decided in 2005 that they were going to acquire Nextel

3:00:09   8    Communications.    Once they acquired Nextel, they merged, if you

3:00:12   9    can follow all of this moving around, all this corporate name

3:00:17 10     changing, all the different things that are going on here, what

3:00:23 11     we have is T-Mobile is sitting here hiding behind this cloak of

3:00:27 12     oh, we're just Sprint, we're just Nextel.        No, that's not the

3:00:32 13     case.   This is a giant conglomerate that has decided that for

3:00:38 14     some reason they don't have to abide by the different rules, the

3:00:38 15     trademark rules.

3:00:42 16                And part of that gap that Mr. Riopelle skipped was the

3:00:48 17     issues about what they did when the trademark came up for

3:00:51 18     renewal.   And you're going to see the evidence in this case

3:00:55 19     where they lied to the trademark office in order to keep the

3:01:01 20     renewal of the name Nextel.

3:01:14 21                Mr. Riopelle talked about trademarks, most businesses

3:01:18 22     have trademarks.    If you're a business owner, you're probably

3:01:22 23     going to have a trademark.      They're designed to help identify a

3:01:25 24     corporation or a product like Coca-Cola which was mentioned and

3:01:33 25     its famous logos, and the McDonald's and its arches, and Google


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 44 of 74 44




3:01:36   1    with its rainbow letters, they're all trademarks or design

3:01:38   2    marks, and you're going to hear issues about these particular

3:01:45   3    marks.   But what's interesting, even in Miami, the famous Miami

3:01:51   4    Sound Machine, which I'm sure everyone knows Gloria Estefan and

3:01:55   5    her music, they too had that trademark, Miami Sound Machine. But

3:01:58   6    if you look it up now, the mark has been abandoned and

3:02:04   7    cancelled.    So even something like as iconic as that for Miami

3:02:08   8    if anyone wants that, it's up for grabs.        You can go and file an

3:02:12   9    application, and if you want to use that particular name, it's

3:02:13 10     fair game.

3:02:23 11               From 1987 to 2005, Nextel had a cellular service type

3:02:43 12     company as Mr. Riopelle said.      It started out as a -- if we want

3:02:47 13     to switch -- Dawn?

3:02:51 14               So you saw this earlier.      This is the original register

3:02:57 15     for the principal trademark we're going to be talking about

3:03:05 16     here, and this is we call it the 244.       It's easier, you can see.

3:03:09 17     And the only thing that is registered here is the name Nextel.

3:03:14 18     You can see it.    All caps, black.     And you can see down here a

3:03:18 19     little bit lower that the original company was called Fleet

3:03:25 20     Call, Inc. and then they changed their name in 1993.         And at its

3:03:29 21     peak, Nextel had about 20 million subscribers and they sold the

3:03:35 22     walkie-talkie, you heard on Mr. Riopelle's opening, the

3:03:39 23     walkie-talkie radio.     Again, what he failed to sort of tell you

3:03:45 24     as part of the story is that the smartphone explosion basically

3:03:50 25     left the walkie-talkies in the dust.       My children used to use


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 45 of 74 45




3:04:00   1    the walkie-talkies and with Apple and AT&T and Verizon and even

3:04:03   2    now T-Mobile, the walkie-talkie sort of had its day.

3:04:11   3                And in 2005 after the merger, when the merger took

3:04:21   4    place, Sprint acquired Nextel and its iDEN network which was 2G.

3:04:26   5    So if you think about we're now on 5G, back then it was 2G and

3:04:29   6    that was developed by Motorola, the phones were developed by

3:04:32   7    Motorola.    And what's interesting is that the one thing you

3:04:37   8    didn't hear counsel say is about the name Nextel and the sale of

3:04:42   9    their phones, you're not going to see any evidence where they

3:04:50 10     have phones that have the famous yellow and black trademark on

3:04:51 11     them.

3:05:00 12                 Nextel came into that merger with about 55 trademarks

3:05:04 13     with Nextel, all kinds of slogans and logos and designs, and

3:05:09 14     those were all transferred to Sprint, including this one which I

3:05:15 15     think most people remember.      And in the opening Mr. Riopelle

3:05:20 16     showed you a couple screenshots that had this, but what he

3:05:26 17     forgot to tell you is that in October of 2014 this trademark was

3:05:32 18     abandoned, cancelled, it's gone.       Not only this one, and I

3:05:42 19     mentioned they had 55, they gave up about 52.        So Sprint took

3:05:48 20     over Nextel, and they just slowly let all these trademarks be

3:05:52 21     abandoned and cancelled.     They had no reason to do anything with

3:05:54 22     them.

3:06:04 23                 The case, when it was filed, they filed for

3:06:08 24     infringement against this particular trademark that's on the

3:06:14 25     screen, the 244.    This relates to equipment.      There also was a


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 46 of 74 46




3:06:19   1    trademark that they claimed that we infringed for Nextel with

3:06:23   2    telecommunication services.      So not just a trademark on

3:06:27   3    equipment, but you need to have the trademark if you're going to

3:06:33   4    sell cell service, right, and?      We call that the 139 Mark.      And

3:06:37   5    you're going to see evidence describing that particular mark.

3:06:44   6    And remarkably, in the middle of this lawsuit, T-Mobile, Sprint

3:06:49   7    whatever they are, they let that mark go abandoned.

3:06:56   8              We hear, we hear Mr. Riopelle claim that they care so

3:07:02   9    much about this iconic Nextel trademark, we're seeing the most

3:07:07 10     iconic, this is the one that was on the NASCAR abandoned.          They

3:07:11 11     can't sell phones for Nextel and connect them to the service

3:07:16 12     without having the trademark, which is gone.        It doesn't -- it

3:07:20 13     doesn't -- the logic doesn't make sense there.

3:07:25 14               Finally, there's a sound mark.       Mr. Riopelle likes to

3:07:31 15     call it the Nextel chirp sound mark, but that's not what it is.

3:07:35 16     It's just a sound mark.     They're calling it the Nextel chirp

3:07:41 17     mark, I don't know why.     But it's -- and it's a three beeps,

3:07:45 18     it's -- you're going to hear issues.       You heard him play the

3:07:48 19     beep.   But what the evidence in this case is going to show is

3:07:52 20     that we're not selling any phones with that sound, that iconic

3:07:56 21     beep with the three beeps.      We're not selling any services

3:08:01 22     related to the sound.     And I think you'll be surprised too that

3:08:03 23     there's no issues with regard to our activities and this

3:08:08 24     particular sound mark.

3:08:22 25               In 2010, Sprint -- oh, by the way, when they merged,


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 47 of 74 47




3:08:26   1    they changed their name once again.       How many times they're

3:08:31   2    going to change their name.      Their name became Sprint Nextel

3:08:41   3    Corporation.     That was going to be the new combination, but by

3:08:45   4    2010 they realized that this new iDEN network was weighing them

3:08:48   5    down, bogging them down, costing them billions of dollars, and

3:08:53   6    they made a decision at Sprint that they made a mistake.          I

3:08:56   7    guess they got some subscribers out of it, but they basically

3:09:01   8    said this isn't working for us, we're losing so much money.           And

3:09:06   9    then by 2012, I mean, you're going to see the evidence of this,

3:09:14 10     in Sprint's own writings, own announcements to the public, they

3:09:18 11     put forth public announcements for the world to see that they

3:09:23 12     were done with Nextel.     They were shuttering it, they were

3:09:26 13     decommissioning the whole network, they were shutting down the

3:09:31 14     network.     People were up in arms and they told their consumers

3:09:35 15     sorry, we're just shutting it down, we're going to pull the plug

3:09:38 16     and you can either join Sprint, get a Sprint phone and Sprint

3:09:41 17     service, or just go somewhere else.       That was their business

3:09:45 18     model.     That was their decision that they decided to make in

3:09:50 19     2012.    That part of the story was left out, we wanted to leap

3:09:53 20     right over there, I don't know how we could leap over that

3:09:54 21     point.

3:09:58 22                 In 2013, June, the middle of the year in 2013, they

3:10:05 23     said June 30th, and on June 30th you could still make a Nextel

3:10:10 24     call.    On July 1st, that was it.     No more Nextel service, no

3:10:16 25     more call.     Your phone, your service, done.     Dead.   Off.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 48 of 74 48




3:10:26   1              Of course what does Sprint do next?       They drop the name

3:10:30   2    Nextel from their name.     They go back to Sprint Corp.

3:10:34   3    Flip-flopping, flip-flopping.      This is all that's been going on

3:10:39   4    here.   Changing their names.     Why?   Subterfuge, I'm not sure.

3:10:44   5    They're one name one day, a name the next day.        You have to ask

3:10:48   6    yourself, and when you see the evidence, you'll challenge the

3:10:51   7    credibility, you'll challenge the things Mr. Riopelle said and

3:10:55   8    what he tried to show you, the smoke and mirrors about --

3:10:57   9              THE COURT:    Opening statement, not argument.

3:10:59 10               MR. SCHWARTZ:    I'm sorry, Your Honor.      The bottom line

3:11:05 11     is 53 Nextel trademarks were abandoned, and the only ones

3:11:09 12     remaining was this particular one, the 244, the

3:11:13 13     telecommunications which I described that has now since been

3:11:17 14     abandoned, and the sound mark and that's it.        And you're going

3:11:20 15     to see a list in evidence of all of these different trademarks

3:11:24 16     that they just said they had nothing more to do with.

3:11:27 17               The issue with trademarks, if I think you can probably

3:11:33 18     imagine by now, is that you either use it or you lose it.          And

3:11:42 19     the way the trademark office sets this up for people so that --

3:11:47 20     like Mr. Kaplan or Mr. Rivera so they understand what they can

3:11:50 21     and cannot do, they say if you don't use your trademark for

3:11:57 22     three years without the intent to reuse it, it can be deemed

3:12:02 23     abandoned or cancelled.     And he showed you, you know, he waved

3:12:07 24     around the certificate, Mr. Riopelle.       Only if someone comes

3:12:12 25     forward like a Mr. Kaplan or a Mr. Rivera and files something to


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 49 of 74 49




3:12:17   1    challenge it and that's a big task, taking on a company like

3:12:20   2    T-Mobile.     Of course the registration is still going to be there

3:12:23   3    that you can wave around, but that's not what really is

3:12:24   4    happening here.

3:12:27   5                What's happening here is they sued us, and we sued

3:12:31   6    them.     And it's important to note that while they're named the

3:12:34   7    Plaintiffs, we're the counter-Plaintiffs.        We have claims as to

3:12:37   8    the things that they have done wrong, and the evidence that

3:12:40   9    we're going to present to you is going to show all the things

3:12:43 10     that they have done wrong to harm us.

3:12:53 11                 They say we infringe their marks, that we somehow are

3:12:59 12     confusing the public and that we're going to dilute their Nextel

3:13:03 13     mark.     The mark that they said into the world we don't want

3:13:07 14     anything to do with.     They wrote-down -- it's a financial term

3:13:14 15     -- they wrote-down a $30 billion goodwill write-off, Nextel.

3:13:20 16     That's how much it cost.     Sprint, and I guess, T-Mobile decided

3:13:23 17     that they would acquire Sprint, and I'll get to that in a

3:13:24 18     second.

3:13:27 19                 They take issue with our domain names.      The domain

3:13:31 20     names goes hand-in-hand with, you know, our particular business.

3:13:35 21     If they're not using Nextel, then we can have a domain name that

3:13:39 22     has the name Nextel in it.

3:13:43 23                 You heard the Court talk about the burden of proof,

3:13:50 24     preponderance of the evidence, the 50%.        You just need to tip

3:13:56 25     the scales, that is basically how your job is.        You're going to


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 50 of 74 50




3:13:59   1    see the evidence.

3:14:02   2               There's certain defenses.     You'll hear and be

3:14:08   3    instructed on all of these different things, and you'll see when

3:14:12   4    the time comes with the evidence how that is going to enlighten

3:14:18   5    you to what really took place here and the situation concerning

3:14:21   6    the Defendants and their particular actions.

3:14:29   7               It's also important to note here that because they

3:14:35   8    decided to sue individuals and corporations, that there's

3:14:40   9    different claims and counterclaims.       Not everyone over here did

3:14:45 10     all the things they're accusing us of, and not everyone over

3:14:50 11     here thinks that they did anything to them.        Mr. Kaplan, he's

3:14:54 12     just an individual.     It's his company that is bringing the

3:14:56 13     counterclaim.

3:15:04 14                There's going to be evidence presented during the

3:15:08 15     trial, you heard Mr. Riopelle talk about this, some forms, live

3:15:12 16     witnesses, Mr. Kaplan, Mr. Rivera, they'll take the stand.

3:15:16 17     They'll describe all the efforts they have made since -- well,

3:15:18 18     with Mr. Rivera, 2016.

3:15:26 19                We have this issue where Mr. Kaplan meets Mr. Calabrese

3:15:33 20     in 2018.   Mr. Calabrese, you saw the license agreement between

3:15:38 21     -- it's a license agreement between RetroBrands and Nextel, Inc.

3:15:42 22     It's not between RetroBrands and Mr. Calabrese individually,

3:15:49 23     these -- it's a business.      It's a business agreement.

3:15:53 24                You'll hear Mr. Kaplan describe his business

3:15:58 25     background.     You'll hear how he's invented some things.       He has.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 51 of 74 51




3:16:01   1    He holds a patent or two.      Because, you know, he's trying to

3:16:05   2    make things better for maybe himself, maybe for others, and

3:16:13   3    that's his entrepreneurial spirit.       He made his family -- in

3:16:18   4    Puerto Rico, they like a drink called Mauby.        It's very hard to

3:16:20   5    find at the time in South Florida.       So what did he do?     He

3:16:24   6    figured out the formula and he made it himself and he sold it

3:16:27   7    here.     That's the type of person you're going to hear about Mr.

3:16:31   8    Kaplan, and what he's done and when he formed RetroBrands in

3:16:31   9    2012.

3:16:36 10                 We talked a little bit about nostalgic brands and they

3:16:40 11     want to paint a picture that we're swooping in to steal their

3:16:45 12     famous iconic brand.     Well, there is a market for nostalgia,

3:16:49 13     bringing back old brands.      This wasn't a one-off thing.      Mr.

3:16:55 14     Kaplan, he investigates, he looks at online articles, newspaper,

3:16:59 15     financial reports, all the things that Sprint said to the public

3:17:09 16     in all their corporate filings under oath.        He's revived at

3:17:13 17     least ten brands since starting his business like Chipwich,

3:17:16 18     Tender Vittles, Tegrin, Di-Gel, Ken-L Ration if you have pets,

3:17:22 19     Sani-Flush, Victrola the record player, and Puss'n Boots.

3:17:27 20     These, at one point in time, were iconic brands, well known to

3:17:29 21     the public for a variety of different reasons, products and

3:17:34 22     services, and all of them were either abandoned, let go or

3:17:37 23     cancelled, no one was using them.       And he decided, as part of

3:17:41 24     his business, he would file applications with the trademark

3:17:46 25     office.     Sometimes there's challenges, sometimes there aren't.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 52 of 74 52




3:17:49   1              In this particular case, what Mr. Riopelle left out of

3:17:55   2    the equation is he filed his application in 2018, and then they

3:17:58   3    immediately filed the lawsuit and then asked the trademark

3:18:04   4    office to suspend.     So it's not like oh, what's been going on

3:18:08   5    for four years.    Nextel has been operating for four years while

3:18:12   6    this lawsuit has been pending.      That's a little bit different

3:18:17   7    than oh, we filed an application and then secretly we're still

3:18:21   8    building and operating a business and trying to sell phones

3:18:26   9    under the Nextel brand.     And we too, Nextel has also invested

3:18:30 10     money, going to trade shows, building up a distribution network,

3:18:32 11     making these phones.

3:18:37 12               They have the right to compete with a T-Mobile.         That's

3:18:42 13     the whole point here.     If we allow big companies like this to

3:18:46 14     try to squash the little guy, then the little guy will never

3:18:51 15     have a chance.    There's a sense of fairness that if you don't do

3:18:55 16     things right, if you don't want something, if you told everyone

3:19:00 17     that you don't want Nextel anymore, then when someone comes and

3:19:04 18     asks for it, you shouldn't be surprised.        And that's the bottom

3:19:04 19     line here.

3:19:07 20               You're going to hear the testimony from Mr. Kaplan as

3:19:13 21     to how much research he does, his investigations.         He didn't

3:19:15 22     look to pick a fight with Sprint.       He did his homework

3:19:20 23     beforehand.    He looked at everything that they had said, things

3:19:25 24     -- they put out their own press releases, their own information,

3:19:31 25     and then he decided to seek an application to use the Nextel


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 53 of 74 53




3:19:33   1    brand.

3:19:37   2                You're going to hear, as part of our counterclaims, how

3:19:41   3    Sprint and T-Mobile, they've interfered with our business.

3:19:46   4    They've cost us money.     They've tortiously interfered with our

3:19:51   5    network of distributors that we've been trying to build up.

3:19:54   6                You'll hear from Mr. Rivera and his efforts and what he

3:19:58   7    does for the company, the different hats he wears.         It's a small

3:20:02   8    company, it only has a few employees.       He's been building the

3:20:06   9    business for four years, and he's ready to move forward.

3:20:10 10                 Mr. Riopelle keeps suggesting that oh well, we can sell

3:20:14 11     phones, just not under Nextel.      But why not under Nextel?

3:20:20 12     They're not using it.     There's no Nextel.     We'll ask, at the end

3:20:26 13     of our case, for you to award us damages for what they've done.

3:20:35 14                 The issue about the renewal to the trademark office,

3:20:39 15     this is an important part of our case in the sense that we're

3:20:43 16     going to show you the evidence how they duped the trademark

3:20:48 17     office, they lied to them, they put forth information, they

3:20:51 18     pulled information out of a warehouse with pictures of old boxes

3:20:57 19     and old phones.     You have to show continual use.      You have to be

3:21:02 20     selling the products in commerce.       You can't just pull a picture

3:21:06 21     of some old phone off the shelf that no one is using and then

3:21:12 22     hope that nobody notices, because that's basically what they

3:21:16 23     did.     And we'll show you the evidence, and you'll decide the

3:21:19 24     credibility of their documents and what they've submitted.

3:21:27 25                 The evidence is going to be such that you're going to


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 54 of 74 54




3:21:31   1    see that they basically didn't use this brand for three years or

3:21:37   2    even longer, and they've only scrambled to try to come up with

3:21:41   3    -- they showed you this banner.      The slogan on that banner is

3:21:48   4    from 2007, and it's been since abandon.        This is an old banner

3:21:51   5    that somebody pulled out of, probably a broom closet, and

3:21:54   6    brought to it the trade show.      Together it says Sprint together

3:22:00   7    with Nextel.    Abandoned.   That was part of a slogan from 15

3:22:04   8    years ago.

3:22:13   9              Mr. Riopelle showed you a slide of their website

3:22:22 10     suggesting that their FAQ page where if you type in can I get

3:22:25 11     the chirp sound, I don't know if he pointed out to you, but the

3:22:30 12     date on the bottom of that document was November 2018.          That was

3:22:37 13     seven months after they filed the lawsuit.        You click on it and

3:22:41 14     it just so happens to say Nextel chirp on it?        You'll question

3:22:44 15     the credibility when you see all the evidence.

3:22:57 16               We've got the sound mark, you heard him play it.

3:22:59 17     They're not going to be able to show you any of our phones

3:23:04 18     making that noise.     So you'll ask yourself again, why are they

3:23:08 19     just, you know, suing us for the sake of suing us on that

3:23:16 20     particular issue?     I don't think they're going to be able to,

3:23:21 21     we'll see with the evidence, an actual Nextel phone?         Ask

3:23:26 22     yourself are they going to show us a Nextel phone that makes

3:23:31 23     that sound?    No.   The evidence is not going to show you that.

3:23:37 24     They don't use -- that beep is affiliated and associated with

3:23:42 25     Nextel, the company that they said we don't want any part of in


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 55 of 74 55




3:23:47   1    their documents you're going to see, they listed all their

3:23:52   2    brands.     One year they had Nextel listed, the next year Nextel

3:23:55   3    is gone.

3:24:03   4                Besides live witnesses, you may see a box or two, you

3:24:09   5    may hear things, it's all evidence to the extent it gets

3:24:10   6    admitted to you to review.

3:24:12   7                There's also going to be deposition transcripts, I

3:24:18   8    mentioned it in the beginning.      These were previously taken

3:24:22   9    proceedings and there will be bits and pieces of the transcripts

3:24:25 10     read to you.     There will be someone sitting over there

3:24:33 11     pretending to read it, someone will be here reading it, and

3:24:35 12     that's the nature of submitting transcripts.

3:24:40 13                 And you're going to read parts of the deposition of a

3:24:44 14     woman by the name of Melissa Jobe.       She's a senior counsel in

3:24:48 15     charge of the trademarks for Sprint.       She's the one who signed

3:24:53 16     off on the declarations for the renewal, the fraud on the

3:24:57 17     trademark court.     You're going to see her name all over the

3:25:01 18     place.     She's actually the woman at Sprint who could tell us all

3:25:13 19     about trademarks, but she's not here.       She's not going to be

3:25:13 20     appearing.

3:25:25 21                 Finally as we get to the real story, 2020, April,

3:25:30 22     T-Mobile acquired Sprint, and what did they do?         The exact same

3:25:36 23     thing that Sprint did to Nextel.       They announced to the world

3:25:42 24     sorry Sprint, and all your subscribers, you're Number 4.          You

3:25:47 25     can't compete with Verizon, AT&T and T-Mobile, so we are done


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 56 of 74 56




3:25:50   1    with Sprint.     We're going to shutter it.     And all their

3:25:53   2    trademarks, everything, they've given up on it.

3:25:59   3               So ask yourself this pattern; Sprint, Nextel, sucks up

3:26:04   4    all the subscribers then tosses it to the wayside.         Now

3:26:08   5    T-Mobile, another billion dollar company, acquires Sprint, sucks

3:26:11   6    up all the subscribers.     That's the only way you can compete

3:26:14   7    with the monsters of AT&T and Verizon.        With this team of

3:26:18   8    lawyers over here and staff, you would think this case was

3:26:21   9    T-Mobile versus Verizon, but it's not.        It's a David versus

3:26:27 10     Goliath.     It's T-Mobile versus two guys just trying to, you

3:26:30 11     know, make a living, revive an old brand, and mind their own

3:26:36 12     business, and try to, you know, get this thing off the ground.

3:26:52 13                You heard, I heard it, Mr. Riopelle at the end of his

3:26:56 14     opening say that well, at the end of this case, after all the

3:27:00 15     evidence, they're going to ask you for statutory damages.           And

3:27:04 16     why did he say that?     He's asking for statutory damages?

3:27:09 17     Because they don't have any actual damages.        That's the reason.

3:27:17 18     And ask yourself, when you see all the evidence, why he brought

3:27:24 19     that up in his opening.     There just simply isn't any validity to

3:27:25 20     any of their claims.

3:27:29 21                And after you see the evidence, you'll see that some

3:27:34 22     businesses, they start from a new idea, fresh, the ground up

3:27:40 23     like Uber.     And sometimes there's businesses that build a better

3:27:47 24     mouse trap like Tesla.     And then on occasion, you have a company

3:27:50 25     that rises out of the ashes of some old company that's been


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 57 of 74 57




3:27:56   1    tossed to the curb and it's reborn, and that's what Nextel is

3:28:00   2    trying to -- that's what they're trying to accomplish, only

3:28:04   3    T-Mobile is trying to stand in their way, stifle competition,

3:28:07   4    squash this little guy because they're what, nervous about Mr.

3:28:12   5    Kaplan and Mr. Rivera?       I mean, that's what this is all about.

3:28:15   6                And thank you.

3:28:25   7                THE COURT:     All right.   Call your first witness please.

3:28:26   8                MR. RIOPELLE:     All right, Your Honor.    We'll call

3:28:29   9    Mr. Jeffrey Kaplan.

3:28:35 10                 THE COURT:     Watch your step.    There's a little ramp

3:28:44 11     there.   Up here, please.      Please remain standing and raise your

3:28:45 12     right hand.

3:28:50 13                  JEFFREY KAPLAN, PLAINTIFF WITNESS, SWORN.

3:28:55 14                 THE COURT:     Please be seated.    Get as close to the

3:28:58 15     microphone as you can, while you're behind the plexiglass, you

3:29:02 16     may remove your mask, tell us your name and spell it please.

3:29:06 17                 THE WITNESS:     Jeffrey Kaplan.    K-A-P-L-A-N.   First name

3:29:10 18     Jeffrey, J-E-F-F-R-E-Y.

3:29:11 19                 THE COURT:     You may proceed, sir.

3:29:12 20                 MR. RIOPELLE:     Thank you, Your Honor.

3:29:12 21                                  DIRECT EXAMINATION

3:29:12 22          BY MR. RIOPELLE:

3:29:28 23     Q.   Now Mr. Kaplan, you're the owner of RetroBrands, correct?

3:29:29 24     A.   Yes.

3:29:41 25     Q.   And RetroBrands has no employees.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 58 of 74 58




3:29:44   1                 THE COURT:   Remember what happened the last time you

3:29:44   2    did that.

3:29:45   3                 MR. RIOPELLE:   I do.

3:29:47   4                 THE COURT:   Be careful.

3:29:47   5          BY MR. RIOPELLE:

3:29:50   6    Q.    RetroBrands has no employees except you, right?

3:29:51   7    A.    Correct.

3:29:55   8    Q.    And no other shareholders besides you, right?

3:29:56   9    A.    Correct.

3:29:59 10     Q.    And so I guess we just established it's just you at

3:30:00 11     RetroBrands?

3:30:01 12     A.    Yes.

3:30:05 13     Q.    And as you say, I think it's on your website, RetroBrands is

3:30:11 14     in the business of reviving abandoned consumer iconic brands and

3:30:14 15     to bring them back to the marketplace; is that right?

3:30:15 16     A.    Correct.

3:30:21 17     Q.    Now, in 2018 you founded a company called Nextel Mobile

3:30:22 18     Worldwide.

3:30:23 19     A.    Correct.

3:30:27 20     Q.    And that's another Defendant in this case, right?

3:30:28 21     A.    Yes.

3:30:31 22     Q.    And you're the only shareholder of that, correct?

3:30:32 23     A.    Correct.

3:30:36 24     Q.    And Nextel Mobile Worldwide doesn't have any employees, does

3:30:37 25     it?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 59 of 74 59




3:30:40   1    A.   No, correct.

3:30:47   2    Q.   Now, I think you've said in a declaration in this case that

3:30:52   3    as part of your RetroBrands business, you conduct research to

3:30:57   4    ensure that brands are abandoned before using the brands, right?

3:30:59   5    A.   Yes, I've been doing that for about 20 years.

3:31:03   6    Q.   And you do all that research yourself, right?

3:31:03   7    A.   Yes.

3:31:06   8    Q.   In fact, you don't use any lawyers or anything, do you?

3:31:07   9    A.   No.

3:31:10 10     Q.   Well, let's look at some of the things you researched.

3:31:15 11                 MR. RIOPELLE:   Can we call up Exhibit 34 please?

3:31:22 12                 THE COURT:   Is it in evidence?     Is it agreed to be in

3:31:25 13     evidence?     Because it's going to be shown to the jury.       If it

3:31:28 14     isn't in evidence, we want to keep it away from the jury until

3:31:32 15     it's in evidence.

3:31:39 16                 MR. RIOPELLE:   Do you have an objection?

3:31:43 17                 MR. SCHWARTZ:   I'm sorry.     What was the number?

3:31:45 18                 MR. RIOPELLE:   34.

3:32:11 19                 THE COURT:   You can put it on there now and it will

3:32:16 20     show to him so he doesn't have to look it up.

3:32:18 21                 MR. SCHWARTZ:   We're getting there.     Give us a second.

3:32:22 22                 THE COURT:   It's on the screen right in front of you.

3:32:25 23                 MR. RIOPELLE:   There it is.

3:32:34 24                 MR. SCHWARTZ:   We have a continuing objection to this

3:32:35 25     Exhibit 34.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 60 of 74 60




3:32:38   1                 THE COURT:   What's your objection?

3:32:40   2                 MR. SCHWARTZ:   Lacks authentication.

3:32:43   3                 THE COURT:   Okay.   Authenticate it.

3:32:43   4         BY MR. RIOPELLE:

3:32:45   5    Q.   Mr. Calabrese -- I'm sorry, Mr. Kaplan.

3:32:51   6                 Mr. Kaplan, you looked at Sprint websites when you were

3:32:52   7    doing your investigation, right?

3:32:53   8    A.   Yes.

3:32:58   9    Q.   And is this -- this is a copy of the Sprint website, right?

3:33:02 10     A.   No, I believe that's an internal -- an internal area of the

3:33:08 11     website that the public cannot get to.

3:33:14 12     Q.   This is a -- do you see up in the top corner where it says

3:33:16 13     January of 2017?

3:33:20 14     A.   Yes.     I think you used the Wayback Machine archive.

3:33:24 15     Q.   We did use the Wayback Machine archive.         We did it so we

3:33:27 16     could do it at the time you were doing the investigation.          Is

3:33:27 17     this --

3:33:33 18     A.   No, I did my investigation in 2018.       This is dated 2017.

3:33:39 19     Q.   So you didn't go back and see this page back in -- actually

3:33:52 20     if we can go to Page 7, Carl?       See the top in this page says

3:33:54 21     April 2018?

3:33:54 22     A.   Okay.

3:33:57 23     Q.   That's about the time that you did your investigation,

3:33:58 24     correct?

3:34:01 25     A.   See, January, February, March, yeah approximately.         But


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 61 of 74 61




3:34:06   1    again, that's an internal website that the public cannot get to.

3:34:15   2    I don't see www.Sprint.com anywhere on it.

3:34:17   3    Q.   Because you're seeing it from the Wayback.

3:34:23   4    A.   Again, it says shop2-sprint.      It's an internal website that

3:34:26   5    you went back and printed out.      This is not something where you

3:34:30   6    go to Sprint.com and hit search and put in Nextel --

3:34:33   7              MR. RIOPELLE:     Your Honor, I have a declaration.

3:34:37   8              THE WITNESS:     -- which is what I did.

3:34:39   9              THE COURT:     Tell you what.   Why don't we get the jury

3:34:42 10     -- jurors, why don't you go into the jury room while we talk

3:34:45 11     about this so I don't have to whisper.

3:34:46 12               COURT SECURITY OFFICER:      All rise for the jury.

3:34:50 13               (Jury out at 3:34 p.m.)

3:35:19 14               THE COURT:     You may be seated.    Wait until the door

3:35:19 15     closes.

3:35:27 16               Okay.   Now, just so that we don't have any

3:35:31 17     misunderstandings, if you have an objection to a document --

3:35:36 18     first of all, I want you to have given documents to each other,

3:35:40 19     then I want you to have looked at the documents beforehand so

3:35:45 20     that when somebody says I'm offering 34, that we don't have to

3:35:50 21     call it up and show it to everybody and stand there while the

3:35:53 22     jury is sitting there twiddling their thumbs.

3:35:57 23               Now, I don't know what this is because it's not my

3:36:03 24     business to know what it is, but I find it improbable that

3:36:07 25     counsel would make it up, so I would assume that somebody can


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 62 of 74 62




3:36:16   1    figure out what it is and what it's supposed to have been.

3:36:20   2                MR. RIOPELLE:     Your Honor, this is a picture, this is

3:36:25   3    the website as it appeared in April of 2018.        It was captured on

3:36:29   4    the Wayback Machine.        Wayback Machine is a service that goes and

3:36:33   5    captures web that's available to the public at that time.          We

3:36:39   6    have for submission a declaration from the Wayback company

3:36:42   7    admissible under Federal Rule of Evidence 90 --

3:36:45   8                THE COURT:     Show counsel and -- show counsel and let's

3:36:48   9    see what we can come up with.

3:36:51 10                 MR. RIOPELLE:     We sent it to them.   They've had it.

3:36:53 11                 THE COURT:     Well, show it to them again.

3:36:55 12                 MR. SCHWARTZ:     They sent it to us last night, Your

3:36:56 13     Honor.     They're trying to use a declaration --

3:36:59 14                 THE COURT:     That's when I want them to give it to you

3:37:01 15     is the night before when they know they're going to bring it up.

3:37:04 16     Now the question is, is that something that you've seen and if

3:37:08 17     so, can we agree that this is something that they could bring in

3:37:14 18     that way.     If they can, then let's go forward, not diddle around

3:37:19 19     with it.     Take a look at it and see if you can agree to it.          If

3:37:22 20     you can't, you can't and we'll have it proved up and then we'll

3:37:27 21     come back and we'll do it the long way.        That's fine.

3:37:34 22                 MR. KERNELL:     Your Honor, we just saw this declaration

3:37:37 23     for the first time in this case last night that they're trying

3:37:41 24     to authenticate this page through some individual we've never

3:37:44 25     heard before, they've never disclosed, they're trying to use him


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 63 of 74 63




3:37:47   1    as an expert to bring this in.      This is an inadmissible hearsay,

3:37:50   2    it's from -- you know, that they've had this -- some of these

3:37:53   3    pages in this case for a while, but they haven't had anybody to

3:37:58   4    even say who even pulled these pages from the Wayback Machine.

3:38:04   5    We don't know what they're trying to show.        And so again --

3:38:06   6              THE COURT:     Okay.   Call your expert first.

3:38:08   7              MR. RIOPELLE:     Your Honor, it doesn't require an

3:38:14   8    expert.   Under Rule 902.11, you can get -- and would you like a

3:38:18   9    copy of the declaration, Your Honor?       I have one for you.

3:38:21 10               THE COURT:     Less than anything in the world.     I can

3:38:31 11     read as well as anybody though.      As soon as I find my rules,

3:38:36 12     I'll look at them.      I got every other rule except the evidence.

3:38:39 13               MR. KERNELL:     Your Honor, this exhibit was printed on

3:38:44 14     January 18, 2019.      They've had it in their possession for three

3:38:48 15     years, yet on the eve of trial we get this declaration from

3:38:53 16     someone that we can't -- there's no way that we can figure out

3:38:56 17     who this guy is.

3:39:00 18               THE COURT:     I don't really understand the objection,

3:39:03 19     that they've had it for a long time and gave it to you the night

3:39:04 20     before?

3:39:07 21               MR. KERNELL:     They've had this web page, this printout

3:39:12 22     of the web page, since January 18, 2019.        All of a sudden on the

3:39:18 23     eve of trial they try and bring it in to authenticate it by a

3:39:22 24     declaration of some individual that's not named on their witness

3:39:26 25     list, they're bringing it trying to authenticate it.


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 64 of 74 64




3:39:30   1                THE COURT:     How is it not 902.11?    Is that what you

3:39:32   2    said?    902.11?

3:39:33   3                MR. RIOPELLE:     Yes, Your Honor.

3:39:39   4                THE COURT:     How is it not 902.11?    It looks like it.

3:39:46   5                MR. KERNELL:     This was not an original copy of a

3:39:52   6    domestic record that -- it was in Sprint's --

3:39:54   7                THE COURT:     Let me see the copy that you're talking

3:39:58   8    about.     Is it a certified copy?     Give it to the court security

3:40:42   9    officer.     Sure looks like 902.11 to me.       Your objection, please

3:40:43 10     articulate it.

3:40:46 11                 MR. KERNELL:     We were not given reasonable written

3:40:49 12     notice of intent to offer it to record and must be done and make

3:40:52 13     the record and certification available for inspection so that

3:40:55 14     the party has a fair opportunity to challenge it.          We have no

3:41:00 15     opportunity to challenge the individual who claimed that this is

3:41:04 16     a certified copy of this.        What's shown in the certified copy

3:41:07 17     does not even have the same -- I don't believe it has the same

3:41:13 18     website address at the bottom of the page that this does, that

3:41:16 19     is shown in Exhibit 34.

3:41:18 20                 THE COURT:     I don't, even see a certification at the

3:41:35 21     bottom of the page.        I mean --

3:41:38 22                 (Counsel conferring)

3:41:50 23                 MR. KERNELL:     Yes, Your Honor.    If you look at the

3:41:54 24     certified copy, it actually does not match the copy of Exhibit

3:41:55 25     34.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 65 of 74 65




3:41:59   1               THE COURT:     What's the difference?

3:42:01   2               MR. KERNELL:     There's a web address at the bottom of

3:42:07   3    the pages of Exhibit 34, and there's nothing that ties that same

3:42:16   4    web address to what's being certified here.          I mean, this is

3:42:19   5    just going through -- this as a cursory because again, we're

3:42:22   6    just getting this.

3:42:26   7               THE COURT:     Okay.     We'll recess for the day.    Take a

3:42:31   8    look at it, show them all what you're going to give them.

3:42:32   9               MR. RIOPELLE:        This is the only one, Your Honor.    I

3:42:36 10     would just say when you use the Wayback Machine, this is the

3:42:38 11     normal way that you do it.         It's done through these sort of

3:42:43 12     declarations, 902.11.      I would note they've got things that I

3:42:43 13     don't believe they've certified because they've not given us

3:42:45 14     Wayback certifications, but this is the way you normally do it.

3:42:52 15     And they've had the exhibit --

3:42:53 16                THE COURT:     34.

3:42:55 17                MR. RIOPELLE:        They've had the exhibit for a long time.

3:42:58 18     But as we knew we were going to use it, we gave them the

3:43:01 19     declaration last night.         I did not realize that it was going to

3:43:01 20     be --

3:43:02 21                THE COURT:     What is the difference between 34 and this

3:43:07 22     one?    You told me that there's a website cited somewhere.          No,

3:43:13 23     he said there was a difference.         What's the difference?

3:43:15 24                MR. KERNELL:     Do you have 34 up there?     Do you have a

3:43:17 25     copy of the certification?


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 66 of 74 66




3:43:20   1                MR. RIOPELLE:     I just gave it to you.   That's what you

3:43:22   2    have in your hand.

3:43:23   3                MR. KERNELL:     I'm asking Your Honor.

3:43:24   4                THE COURT:     Yes, I do.

3:43:26   5                MR. KERNELL:     If you look at the bottom of the page --

3:43:39   6    well, the first page --

3:43:42   7                THE COURT:     Are you talking about Exhibit A?

3:43:44   8                MR. KERNELL:     Yes, if you look at the first page of

3:43:47   9    Exhibit 34.

3:43:52 10                 THE COURT:     I don't have Exhibit 34.

3:43:53 11                 MR. KERNELL:     The first page of Exhibit A to the

3:43:58 12     examination, this says January 12, 2017 at the top of Exhibit

3:43:59 13     34.

3:44:01 14                 THE COURT:     Wait.   You told me to look at the bottom.

3:44:05 15     Now you're telling me to look at the top?

3:44:07 16                 MR. KERNELL:     If you look at the top along the banner

3:44:09 17     for Wayback Machine.

3:44:11 18                 THE COURT:     For the Wayback Machine, I see it.

3:44:13 19                 MR. KERNELL:     It says -- it has the highlighted as July

3:44:16 20     15, 2017.     Do you see that?

3:44:17 21                 THE COURT:     Correct.     I see that.

3:44:21 22                 MR. KERNELL:     If you look then at Exhibit 34,

3:44:25 23                 THE COURT:     Well apparently I don't have Exhibit 34.

3:44:27 24                 MR. KERNELL:     It's Plaintiff's Exhibit 34.

3:44:30 25                 THE COURT:     I know it's Plaintiff's Exhibit 34.    I


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 67 of 74 67




3:44:33   1    don't have Plaintiff's Exhibit 34.

3:44:35   2               MR. KERNELL:      It's on the monitor.   It was scrolled

3:44:37   3    down to the first page.

3:44:48   4               MR. RIOPELLE:      This is the page we're using though,

3:44:51   5    right?

3:44:54   6               MR. KERNELL:      Can we see the first page of Exhibit 34

3:44:57   7    on the monitor?     Yes.    So now on the first page of Exhibit 34

3:45:07   8    which should be the first page of the exhibit, it shows at the

3:45:15   9    top the highlighted date is January 12, 2017.         The certified

3:45:21 10     exhibit that is supposed to be certifying Exhibit 34, the date

3:45:29 11     is July 15, 2017.       It doesn't match.    At the bottom of -- if you

3:45:35 12     look at the bottom of what's marked as Plaintiff's Exhibit 34 --

3:45:37 13                MR. RIOPELLE:      Just to address that, Your Honor, the

3:45:41 14     January 12, 2017 page is the second to last one on the copy that

3:45:44 15     we just handed up.

3:45:58 16                THE COURT:      Yeah, I see it.   It's identical.

3:46:01 17                MR. KERNELL:      Your Honor, then if we go to the January

3:46:06 18     12, 2017 page, the second to the last page, if you look just

3:46:12 19     before -- below the Sprint logo on the left, on Exhibit 34 it

3:46:18 20     says Nextel Direct Connect circle R.         There is no such Nextel

3:46:28 21     Direct Connect on this page.       It does not have it in that --

3:46:31 22     right there.    No, it's not the same as what's shown on the

3:46:36 23     exhibit.   There are many inconsistencies between these two

3:46:42 24     exhibits and again, we just got this last night.         They've had it

3:46:48 25     for three years and yet, we couldn't have brought that up, we


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 68 of 74 68




3:46:51   1    couldn't have called this person, we couldn't find out why are

3:46:53   2    these two exhibits different.

3:46:56   3                THE COURT:     I don't think the rule contemplates calling

3:47:02   4    the person.     I think the rule contemplates that a registered

3:47:03   5    custodian --

3:47:05   6                MR. KERNELL:     The other objection here with this

3:47:08   7    exhibit is this is inadmissible hearsay.

3:47:15   8                THE COURT:     I thought that 902.11 takes it out of

3:47:20   9    hearsay.     Evidence that is self-authenticating.

3:47:23 10                 MR. KERNELL:     But the documents do not match.

3:47:27 11                 THE COURT:     This is the document that they're offering.

3:47:31 12     It doesn't have to match anything.

3:47:35 13                 MR. RIOPELLE:     May I also note, Your Honor, that this

3:47:38 14     authenticity objection is not an objection that they put on the

3:47:42 15     exhibit list at the time that we served on the final pretrial

3:47:46 16     order.     So this is -- we did this just because we were doing

3:47:50 17     belts and suspenders.       Now they're making it -- I think they're

3:47:53 18     making it an issue because we did give them the belt and the

3:47:55 19     suspenders.

3:47:59 20                 THE COURT:     Okay.   Tell you what I'm going to do.   I'm

3:48:02 21     going to send the jury home, I'm going to let you show them

3:48:05 22     whatever the heck you got, and I'm going to let them look at

3:48:08 23     whatever you've got and tomorrow, I want you to give me cogent

3:48:12 24     arguments as to why something is either admissible or

3:48:16 25     inadmissible and I will rule.        But I don't want to hear about --


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 69 of 74 69




3:48:19   1    show them whatever you're going to be showing in evidence, give

3:48:22   2    them everything so that I don't want to hear tomorrow that, or

3:48:27   3    the next day, that gee, we've only had this since last night.           I

3:48:30   4    just remember having been a trial lawyer, many late nights that

3:48:34   5    I spent looking at exhibits that I was given the night before.

3:48:38   6    That goes with the territory.       Deal with it.   The bottom line is

3:48:42   7    I don't want the jury to be sitting around twiddling their

3:48:49   8    thumbs.    This is starting to look like the official review in an

3:48:53   9    NBA basketball game where if you go to the emergency room you

3:48:56 10     can always say call the NBA, they owe me at least another month

3:49:01 11     of life that I have wasted sitting around for people to argue

3:49:04 12     about the same thing, and then at the end they come to the same

3:49:05 13     conclusion.

3:49:14 14                Looks to me like 902.11 says that the original or copy

3:49:21 15     that meets Rule 803(6) A to C requirements as shown by

3:49:26 16     certification of custodian.      Now, I suspect that they could get

3:49:30 17     in the 34 through another mean, but I don't really want to get

3:49:32 18     into that, and I certainly don't want to be sitting here letting

3:49:38 19     the jury mess around the whole time.       I will be ready to argue

3:49:43 20     this tomorrow morning at 9:30 and I'll ask the jury to come back

3:49:50 21     at 10.    But we've already shot half a day and that doesn't make

3:49:51 22     any sense.

3:49:55 23                Call the jury back in.     I'm going to send them home.

3:50:03 24                (Jury in at 3:49 p.m.)

3:51:19 25                THE COURT:   You all can be seated please.      All right.


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 70 of 74 70




3:51:22   1               Ladies and gentlemen, we've come up with an evidentiary

3:51:27   2    question that requires a little bit of research.         There's one

3:51:29   3    thing that I really do not like is having you hang around just

3:51:33   4    waiting.     Doesn't make any sense.    You probably have much better

3:51:36   5    things to do than sit in the jury room and talk to each other.

3:51:41   6    So I'm going to send you home for the day, and tomorrow morning

3:51:44   7    we're going to have our legal argument at 9:30 which means that

3:51:48   8    you can come back at 10:00.      We'll have it resolved by then.        So

3:51:52   9    I need you to come back and be here at 10:00 in the jury room.

3:51:55 10     And remember that if you're late, everybody else is going to

3:52:01 11     have 40 people waiting on you.      Okay?   It's not as simple.     Now,

3:52:06 12     if it rains that means all the New Yorkers are going to go

3:52:09 13     crazy, and I know it will take you a while.        But if you wake up

3:52:12 14     and it's raining, leave early because otherwise we have come to

3:52:16 15     the conclusion that Florida drivers cannot drive in the rain.

3:52:21 16     Just like Washington, DC in the very light snow.         So I ask you

3:52:26 17     to please go home, rest up, come back at 10:00 ready to go.

3:52:29 18     We're going to try to push it tomorrow and get more done.

3:52:31 19     Because this is not great.

3:52:37 20                And let me just explain to you that when you leave, in

3:52:41 21     the courthouse please wear your juror badges because that's

3:52:44 22     important.     The lawyers will see it and recognize it.      When you

3:52:46 23     walk out the door, sorry to report to you there's all sorts of

3:52:50 24     weirdoes walking around downtown so take it off, because

3:52:53 25     otherwise somebody is liable to start explaining to you


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 71 of 74 71




3:52:56   1    something that you have absolutely no interest in and has

3:53:00   2    nothing to do with this case because they see that you're a

3:53:03   3    juror.     So take it off and put it in your pocket until you come

3:53:06   4    back in the morning and put it on when you come in the door.

3:53:06   5    All right?

3:53:11   6                Now, I just read this to you so I'm not going to read

3:53:14   7    it all to you again, but you're reminded that you're not to

3:53:16   8    discuss the case with anyone or permit anyone to discuss it with

3:53:19   9    you.     Don't read or listen to anything touching on the case.

3:53:21 10     Don't do any research or make any investigation on your own.

3:53:26 11     Don't have any contact with the attorneys, parties or witnesses.

3:53:28 12     Don't form any opinion about this case until all the evidence is

3:53:30 13     in.

3:53:32 14                 We'll see you tomorrow morning, thank you very much,

3:53:35 15     good night.

3:53:37 16                 COURT SECURITY OFFICER:     All rise for the jury.

3:53:41 17                 (Jury out at 3:53 p.m.)

3:53:47 18                 THE COURT:    You may go.   There are no reserved seats.

3:53:52 19     Whoever gets in first should go to the last seat so you're not

3:53:56 20     bumping into each other.

3:54:04 21                 All right, sir.    Since you're on the stand, you're not

3:54:07 22     permitted to discuss your testimony with anyone, even the

3:54:10 23     lawyers.     So we'll be in recess until tomorrow morning at 10

3:54:11 24     a.m.

3:54:14 25                 Yes, sir.    I mean 9:30 for us.   Yes, sir.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 72 of 74 72




3:54:17   1                MR. RIOPELLE:   Just so we are doing exactly what the

3:54:21   2    Court wants us to do, you want us to make sure -- so we have

3:54:28   3    obviously the list of objections that they made so we know what

3:54:31   4    we're going to use for various witnesses tomorrow.         I assume we

3:54:36   5    should send them tonight.         These are the exhibits that we plan

3:54:39   6    to use tomorrow to which you have an objection, let's see if we

3:54:40   7    can work this out.

3:54:42   8                THE COURT:   And here's why your objection is no good,

3:54:45   9    and here's why we think it's admissible and then let them be

3:54:49 10     ready to make the objection, and I will rule on the objections

3:54:49 11     tomorrow.

3:54:52 12                 MR. RIOPELLE:   Right.     So that's for anybody we think

3:54:55 13     we're going to put on tomorrow, not just Mr. Kaplan obviously.

3:54:56 14                 THE COURT:   Right.

3:54:57 15                 MR. RIOPELLE:   We'll take care of that.

3:54:59 16                 THE COURT:   Any exhibits that you believe are going to

3:55:02 17     be admitted tomorrow, that you're going to offer for admission

3:55:05 18     tomorrow, then tomorrow afternoon when we quit, give them the

3:55:09 19     stuff for the next day.     All right?

3:55:11 20                 MR. RIOPELLE:   We did some of this last night so we've

3:55:15 21     got a procedure and we'll continue to do it.

3:55:17 22                 THE COURT:   And talk about this one, see if you can

3:55:20 23     work it out.    If you can't that's all right, I'll deal with it.

3:55:21 24     Okay?

3:55:24 25                 We'll be in recess until tomorrow.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 73 of 74 73




3:55:25   1                MR. RIOPELLE:     I'm sorry.      One other issue just to

3:55:30   2    raise so we can address it tomorrow is that they have now

3:55:39   3    several times represented to this Court and to the jury that

3:55:43   4    Mr. Rivera is going to be testifying.           Mr. Rivera has never been

3:55:47   5    identified as a witness on any witness list, on any initial

3:55:49   6    disclosures.     The first time they told us Mr. Rivera was going

3:55:53   7    to be a witness was Friday at the meet and confer after the

3:55:57   8    calendar call.     I just want to raise this because I think we

3:56:01   9    should -- I should raise it so they can think about it tonight

3:56:03 10     and we can argue it tomorrow.

3:56:04 11                 THE COURT:   We can deal with it tomorrow.

3:56:06 12                 MR. RIOPELLE:     Okay.    I just want to let you know that

3:56:07 13     it was on.

3:56:11 14                 THE COURT:   Apparently Mr. Rivera is not going to be a

3:56:13 15     willing participant in this.          Okay?   We'll work on it.   We'll

3:56:17 16     work it out.     All right?    Good night.

3:56:20 17                 MR. SCHWARTZ:     Good night, Your Honor.

3:56:20 18                 (See Volume 2 dated 4-12-2022 for continuation)

3:56:20 19
                                        C E R T I F I C A T E
3:56:20 20
               I certify that the foregoing is a correct transcript from the
3:56:20 21     record of proceedings in the above-entitled matter.

3:56:20 22     4/11/2022                   /s/ Dawn M. Savino, R.P.R., C.R.R.
               Date                            DAWN M. SAVINO, R.P.R., C.R.R.
3:56:20 23

3:56:20 24
                                                I N D E X
3:56:20 25


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 292 Entered on FLSD Docket 04/11/2022 Page 74 of 74 74




3:56:20    1                                   WITNESSES

3:56:20    2   ALL WITNESSES:                                             PAGE:

3:56:20    3   For Plaintiff:

3:56:20    4     Jeffrey Kaplan:
                   Direct Examination by Mr. Riopelle                     57:21
3:56:20    5
                                               EXHIBITS
3:56:20    6
               None

3:56:20    7

           8

           9

          10

          11

          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
